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                                      14                         UNITED STATES BANKRUPTCY COURT
                                      15                                   DISTRICT OF NEVADA
                                      16    In re                                        Case No. BK-22-14422-NMC
                                      17    MUSCLEPHARM CORPORATION,                     Chapter 11
                                      18
                                                                                         AMENDED DECLARATION OF
                                                               Debtor.
                                      19                                                 MICHAEL P. RICHMAN

                                      20            1.   I am a member of the law firm Steinhilber Swanson LLP. Our firm is co-counsel
                                      21   to Ryan Drexler in the above-captioned proceeding. I make this declaration in support of Ryan
                                      22   Drexler’s Objection to Emergency Motion to Enforce Intercreditor and Subordination
                                      23   Agreement Under Section 510(a) of the Bankruptcy Code.
                                      24            2.   Attached hereto is an appendix containing highlighted excerpts of true and correct
                                      25   copies of: (1) the Plan Term Sheet attached as Exhibit 1 to the Notice of Plan Term Sheet [ECF
                                      26   No. 478] (excerpts are numbered beginning with letter prefix “A”); (2) the Plan Support
                                      27   Agreement attached as Exhibit 1 to the Debtor’s Motion Pursuant to 11 U.S.C. §§ 105 and 363
                                      28
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                                       1   of the Bankruptcy Code and Bankruptcy Rule 9019 to Approve Settlement and Plan Support
                                       2   Agreement with: (I) the Official Committee of Unsecured Creditors; (II) Empery Tax Efficient,
                                       3   LP, in its Capacity as Collateral Agent and Financing Agent for MP Collateral, LLC; and (III)
                                       4   White Winston Select Asset Funds, LLC [ECF No. 524] (excerpts are numbered beginning with
                                       5   letter prefix “B”); and (3) Plan of Reorganization for MusclePharm Corporation Under Chapter
                                       6   11 of the Bankruptcy Code Dated May 26, 2023 [ECF No. 553] (excerpts are numbered
                                       7   beginning with letter prefix “C”).
                                       8          3.      I declare under penalty of perjury that the foregoing is true and correct.
                                       9          Dated: June 14, 2023.
265 E. Warm Springs Road, Suite 107




                                      10                                                         /s/ Michael P. Richman
                                                                                                  Michael P. Richman
     CARLYON CICA CHTD.




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       Las Vegas, NV 89119




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                                         IN RE MUSCLEPHARM CORPORATION

                                                    Plan Term Sheet

                                                       May 8, 2023

 This Plan Term Sheet (the “Term Sheet”) is a summary of the material terms to be incorporated into a binding Plan
Support Agreement (“PSA”) to be filed by MusclePharm Corporation (the “Debtor”) in the Debtor’s chapter        p 11 case
ppending g in the United States Bankruptcy
                                        p y Court for the District of Nevada ((the “Bankruptcy
                                                                                            p y Court”).
                                                                                                       ) This Term Sheet
 is pproffered byy the Official Committee of Unsecured Creditors of the Debtor (the “Committee”) in the nature of a
 settlement proposal in i furtherance of settlement discussions and is therefore entitled to protection from any use or
 disclosure to any person pursuant to Federal Rule of Evidence 408 and any other rule of similar import. This Term
 Sheet and the information contained herein are strictly confidential and may contain material non-public information.
 This Term Sheet does not constitute (nor shall it be construed as) an offer with respect to the issuance of any securities,
 nor is it an offer or solicitation of votes for or against any chapter 11 plan, and is being presented for discussion and
 settlement purposes only. It is understood that a solicitation of votes in respect of a chapter 11 plan, if any, will be
 made only in compliance with the applicable provisions of the securities, bankruptcy, and other applicable laws.

Nothing herein shall be deemed to be an admission or evidence of any fact, and this Term Sheet shall not be introduced
as evidence for any purpose, including in litigation among the parties hereto. Except as otherwise expressly provided
in this Term Sheet, nothing herein is intended to, or does, in any manner waive, limit, impair, or restrict the ability of
any party to protect and preserve any of its respective rights, remedies and interests, including without limitation its
respective claims against the other or its ability to participate in any proceeding.

                                                  PLAN TERM SHEET

 Term                                    Description

 Parties                                 Debtor: MusclePharm Corporation

                                         Committee: Official Committee of Unsecured Creditors of Debtor

                                         Empery:
                                           p y Empery p y Tax Efficient,, LP,, in its capacity
                                                                                        p      as Collateral Agent and
                                         Administrative Agent, and MP Collateral LLC

                                         White Winston: White Winston Select Asset Funds, LLC and White Winston
                                         Select Asset Fund Series Fund MP-18, LLC

                                         Prestige: Prestige Capital Finance, LLC, MP Collateral LLC (as assignee)

                                         Each person executing the PSA (defined below) on behalf of a Party shall
                                         represent and warrant to all other Parties to the PSA (defined below) that they
                                         have the authority to execute the PSA on behalf of the Parties for whom they
                                         are signing (in the case of Empery, for itself, it’s participants and MP
                                         Collateral).

 Asset Sale                              The Debtor shall engage an investment banker selected by the Independent
                                         Director, in consultation with the Committee and Empery, and solely to the
                                         extent the Independent Director (Nicholas Rubin) determines that an
                                         investment banker is necessary to maximize the value of the estate’s assets.
                                         The Independent Director shall have the sole authority to select the investment
                                         banker on or before May 12, 2023.




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 Term                         Description

                              The Debtor shall, in consultation with the Committee and Empery, run a sale
                              process, pursuant to section 363 of the Bankruptcy Code, for the sale of
                              substantially all of its assets (the “Sale”), including cash which will be subject
                              to a customary closing adjustment, pursuant to the following schedule:

                                       -    Indications of interest and Stalking Horse selection in 45-days.
                                            The Debtor may select the Stalking Horse Bidder, in consultation
                                            with the Committee and Empery (solely to the extent Empery is
                                            not the Stalking Horse Bidder). For the avoidance of doubt, the
                                            Debtor, with the consent of the Committee, may select Empery
                                            as a stalking horse bidder, which bid may include a credit bid in
                                            accordance with the terms of this Term Sheet.

                                       -    Auction, if any, at least two (2) business days prior to the Sale
                                            hearing. The auction shall be held in open court or should the
                                            Bankruptcy Court not be available, such other mutual location as
                                            the Debtor, the Committee, and Empery may agree.

                                       -    Sale hearing in 75-days.

                                       -    Closing outside date in 95-days (August 15), or as otherwise
                                            mutually agreed to by Empery, the Committee, the Debtor, and
                                            the successful bidder.

                              Excluded Assets:

                                       -    IP License. The Sale shall not include the intellectual property
                                            for Coco ProteinTM which will remain property of the estate (the
                                            “Excluded IP”). The estate shall provide the purchaser with an
                                            exclusive one-year license of the Excluded IP.

                                       -    Causes of Action. The Sale shall not include any of the estate’s
                                            causes of action, unless otherwise agreed to by the Debtor and
                                            the Committee, including, but not limited to, any claims against
                                            its current or former directors and officers and any claims arising
                                            under chapter 5 of the Bankruptcy Code; provided, however, the
                                            Sale may include preference claims against going forward trade
                                            vendors that, upon determination by the Committee, are less than
                                            $100,000 as to each trade vendor; provided further, however,
                                            that, unless otherwise agreed to by White Winston, the Sale shall
                                            not include the White Winston D&O Claims (defined below).

                                       -    “White Winston D&O Claims” means the estate’s causes of
                                            action (and associated rights to director and officer insurance)
                                            against directors and officers for breaches of their fiduciary duties
                                            of loyalty, care, and good faith that arose on or before December
                                            31, 2018.

                              Credit Bid Cap.
                                            p Empery’s
                                                   p y rightg to credit bid its claims ((DIP Obligations
                                                                                                  g       and
                              prepetition notes) will be capped at $14.0 million, subj
                                                                                  subject
                                                                                    b ect to increase with the



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                                              PLAN TERM SHEET

    Term                              Description

                                      consent of the Committee. To the extent Empery p y is the successful bidder,, and
                                      subject
                                          j to confirmation of a Plan consistent with this term sheet,, Empery
                                                                                                            p y shall
                                      issue 20% of the purchaser’s
                                                        p           equity to the Liquidation Trust for the benefit of
                                      general unsecured creditors. For the avoidance of doubt, the 20% is pre-money
                                      (before any capital raise); provided, however, the governing documents shall
                                      provide the GUCs a right to participate in any such capital raise on a pro rata
                                      basis at a minimum (pro rata to their initial equity stake in NewCo); provided
                                      further that any management equity incentive plan shall be allocated solely
                                      from Empery’s 80% equity share; provided further Empery’s obligation to
                                      issue the purchaser’s equity pursuant to this paragraph shall arise on the
                                      Closing Date and shall not be subject to confirmation of any Plan or the
                                      occurrence of the Plan Effective Date (defined below). Any bid from Empery
                                      shall include cash in the amount of the Wind-down Budget (defined below).

                                      DIP Obligation Payoff. On or as soon as practicable following the Closing
                                      Date, the DIP Obligations (inclusive of Roll-Up) will be paid in full in cash to
                                      Empery from the cash proceeds of the Sale. In no event shall the DIP
                                      Obligations (inclusive of the Roll-Up) exceed $6.5 million ($3M DIP / $3M
                                      Roll-Up / up to $0.5M of interest, fees, and expenses), subject to increase
                                      dollar-for-dollar with any funding under the DIP Inventory Acquisition Line
                                      of Credit funded at the request of the Debtor, without the prior written consent
                                      of the Committee.1 For the avoidance of doubt, the term DIP Obligations
                                      includes all principal, fees, interest, and expenses. For clarity, DIP Factoring is
                                      not included in the DIP Obligation Payoff.

                                      Cash Collateral. Prior to approval of PSA, the Debtor, Empery, and the
                                      Committee shall mutually agree upon a budget (the “Wind-down Budget”) to
                                      effectuate the plan of reorganization described in the “Plan” section of this
                                      Term Sheet (the “Plan”). For the avoidance of doubt, the Debtor, Empery, and
                                      the Committee anticipate that the Sale proceeds will be sufficient to repay the
                                      DIP Obligations Payoff and fund the chapter 11 case within the Wind-down
                                      Budget through the Plan Effective Date.

                                      Factored Receivables: All accounts receivable will be separately accounted for
                                      in the purchase price by the buyer. Empery shall consent to the sale of
                                      outstanding postpetition factored accounts receivable (i.e., accounts receivable
                                      factored under the DIP Factoring Facility), provided that the buyer pays the
                                      amount outstanding to the DIP Factoring Agent, including all accrued interest
                                      and other amounts chargeable under the DIP Factoring Facility. In addition,
                                      the buyer will have the right to pay-off all prepetition accounts receivable owed
                                      by Costco and Costco Canada (to the extent they are not paid at the time of the
                                      sale). For clarity, the purchase price of the assets will not include accounts
                                      receivable (both postpetition factored accounts receivable and prepetition
                                      accounts receivable) unless clearly specified by the buyer. Upon repayment in



1
  The cap on the DIP Obligations is premised on the assumption that there will be no further advances under the DIP
Note Agreement. If further advances cause the balance under the DIP Note Agreement to exceed $3.0 Million, then
notwithstanding anything in this Term Sheet to the contrary, the DIP Obligations due under this Term Sheet will
increase dollar per dollar, as will the Roll-Up, to the extent of such increased lending.

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                              full of the Debtor’s obligations to the DIP Factoring Agent, all holdback
                              amounts shall be returned to the Debtor.

                              “Net Sale Proceeds” shall mean the cash pproceeds of the Sale less any
                                                                                                   y fees and
                              expenses
                                p       related to such Sale,, less the DIP Obligation
                                                                                g       Payoff,
                                                                                          y , and less the
                              Wind-down Budget.g     The Wind-down Budget   g shall not exceed $500,000,, ,
                              unless otherwise mutually agreed upon by the Debtor, Empery, and the
                              Committee.

                              For the avoidance of doubt, the Empery liens shall attach to the cash Sale
                              proceeds until such time as a Plan consistent with the terms of this Term Sheet
                              becomes effective and Empery is irrevocably paid in cash and/or by credit bid,
                              as applicable, the amounts agreed to be paid to Empery pursuant to this Term
                              Sheet.

 Plan                         The Plan may be modified with respect to the Tax Provisions and Public Entity
                              Provisions (each defined below) pursuant to section 1127 of the Bankruptcy
                              Code, provided that such modifications do not conflict with this Term Sheet in
                              a manner that deprives any Party from the direct benefits to which it is
                              expressly entitled to under this Term Sheet (including, but not limited to, rights,
                              economic recoveries, and vesting of assets set forth herein and limitations on
                              risk (including releases) and costs), unless otherwise agreed to by the Parties
                              and are otherwise consistent with this Term Sheet, in which event the Plan as
                              modified shall be the Plan for all purposes of this Term Sheet.

                              The Debtor,, the Committee,, and Empery p y ((at its option)
                                                                                     p   ) ((the “Plan Proponents”)
                                                                                                          p        )
                              shall jjointlyy propose
                                              p p      the Plan under chapter
                                                                         p 11 of Title 11 of the United States
                              Code,, and it will be consistent with,, and include all of the material and relevant
                              pprovisions of,, this Term Sheet. The Plan Proponentsp         shall regularly
                                                                                                      g    y consult
                               with White Winston (and(    in the event Empery
                                                                           p y is not a Plan Proponent,
                                                                                                    p     , Empery)
                                                                                                               p y)
                              on the terms of the Plan and associated documents,, including,             g, without
                              limitation, the disclosure statement, Plan, and form of confirmation order. The
                              Plan, the disclosure statement, the form of confirmation order, and all
                              amendments and modifications thereto shall be reasonably acceptable to White
                              Winston (and in the event Empery is not a Plan Proponent, Empery) prior to
                              the time of filing such document(s). In general, the Plan will (1) vest all of the
                              estate’s remaining assets, other than the Excluded IP and the White Winston
                              D&O Claims, in a liquidation trust and (2) vest the Excluded IP and the White
                              Winston D&O Claims in MusclePharm as reorganized by the Plan (the
                              “Reorganized Debtor”), the equity of which will be issued to White Winston
                              in full satisfaction of its claims. The Plan Proponents will not file any Plan or
                              any modifications to any such Plan provided such Plan and modifications, if
                              any, are consistent with this Term Sheet, and do not deprive such Party from
                              the direct benefits to which it is expressly entitled to under this Term Sheet
                              (including, but not limited to, rights, economic recoveries, and vesting of assets
                              set forth herein and limitations on risk (including releases) and costs), unless
                              otherwise agreed to by the Parties.

                              As discussed more fully below, the Plan shall (i) be proposed on a timeline to
                              coincide with the Sale timeline and (ii) provide for the Plan Effective Date on
                              or before August 31, 2023; provided, however, that the consummation of the


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                              Sale consistent with the Sale timeline is the paramount objective of the Debtor,
                              Committee, and Empery, which objective is acknowledged by White Winston.

                              The Plan shall contain standard third-party
                                                                    p y consensual releases and exculpation
                                                                                                        p
                              clauses. The Plan will release all of the estate’s claims against
                                                                                              g       Empery,
                                                                                                          p y,
                                    g , and White Winston. In addition,, Empery
                              Prestige,                                        p y and White Winston shall
                              exchangeg consensual releases (broad
                                                             (      releases, including, but not limited to, all
                              defendants in the adversary proceeding) in form and substance reasonably
                              satisfactory to Empery and White Winston that shall be effective upon the
                              occurrence of the Plan Effective Date, and the exchange of such releases is a
                              condition to confirmation of a Plan and Empery contributing the assets on
                              which it has a lien, provided further, that such releases will become effective
                              upon confirmation of the Plan if White Winston’s $8,630,261.00 Class 7 Claim
                              becomes an allowed unsecured claim on such confirmation date. White
                              Winston and Emperyp y shall submit such ppapers
                                                                           p as are reasonably  y necessary to
                              dismiss the released parties with respect to underlying actions/claims.

                              The Plan shall preserve all estate causes of action, including chapter 5 claims
                              (other than chapter 5 claims purchased by the purchaser consistent with this
                              Term Sheet), which (i) other than the White Winston D&O Claims shall vest
                              in the liquidation trust, unless otherwise agreed to by the Committee and the
                              Debtor, or (ii) with respect to the White Winston D&O Claims, shall vest in
                              the Reorganized Debtor.

                              For the avoidance of doubt, all claims against the Debtor’s current and former
                              directors and officers, including Ryan Drexler, other than the White Winston
                              D&O Claims, shall be preserved and vest in the liquidation trust (to the extent
                              not sold). The White Winston D&O Claims shall be preserved, shall not be
                              sold (unless otherwise agreed to by White Winston), and shall vest in the
                              Reorganized Debtor.

                              Preservation of Tax Attributes and Public Entityy Status. The Plan shall be
                              structured by    y the Parties consistent with the other terms and conditions
                              contained in this Term Sheet and existingg law to contain the pprovisions
                              pproposed
                                    p       byy White Winston (and(       reasonablyy acceptable
                                                                                           p        to the Debtor,, the
                               Committee and Empery)  p y) to,, and in an effort to effectuate,, (i))
                                                                                                   ( )) the preservation
                                                                                                            p
                               of the favorable tax attributes of the Debtor ((including    g all net operating
                                                                                                         p      g losses))
                               for the benefit of the Reorganized g            Debtor ((such pprovisions to ppreserve
                               favorable such tax attributes of the Debtor ((including     g all net operating
                                                                                                        p      g losses))
                               ((the “Tax Provisions”)) and ((ii)) the ppreservation of the Reorganized
                                                                                                     g         Debtor as
                                appublic entityy ((such pprovisions to ppreserve the Reorganized
                                                                                           g         Debtor as a ppublic
                                     y (the
                                entity ( “Public Entity     y Provisions”),), pprovided however,, that the Bankruptcyp y
                                Court’s ppreservation of the NOL’s subject       j   to the Tax Provisions and the
                                retention of the Debtor as a ppublic entity        y ppursuant to the Public Entity
                                Provisions is not a condition to this Term Sheet. For purposes of the
                                immediately preceding sentence, any provision of the Plan proposed by White
                                Winston shall be deemed reasonably acceptable to the Debtor, the Committee
                                and Empery if the effect of such provision does not deprive a Party from the
                                direct benefits to which it is expressly entitled to under this Term Sheet
                                (including, but not limited to, rights, economic recoveries, and vesting of assets
                                set forth herein and limitations on risk (including releases) and costs), unless


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                              all expenses incurred related to preserving and maintaining the Debtor’s public
                              entity status from and after the effective date of the PSA. In addition, White
                              Winston shall prepare, at its sole cost and expense, all necessary applications,
                              filings, and documents related to maintaining the Reorganized Debtor’s public
                              entity status.

                              For the avoidance of doubt, and notwithstanding anything to the contrary
                              contained herein, White Winston shall not be responsible for and shall not be
                              required to pay (i) any fees of any of the professional persons representing the
                              Debtor or the Committee and (ii) any amounts that the Debtor is required to
                              pay under applicable law prior to the Plan Effective Date to maintain the
                              Debtor’s public entity status; provided, however, that in the event any actual
                              and necessary costs of maintaining the Debtor’s public entity status (meaning
                              the cost of each action required to be taken as directed by White Winston and/or
                              reasonably determined by Debtor) not included in the Debtor’s current budget,
                              then White Winston may elect to fund in advance such costs upon written
                              request and at White Winston’s sole option; provided further, however, that in
                              the event White Winston declines to advance such costs before such action is
                              taken as requested, then the obligation of any person or entity under this Term
                              Sheet to fund such costs shall cease, with all other obligations of the Parties
                              hereunder remaining intact.

                              Termination of Security Interests. The Plan shall constitute a termination
                              statement with respect to all liens, security interests and encumbrances that is
                              effective upon the Plan Effective
                                                          ctive Date pursuant to section 9-513 of the Uniform
                              Commercial Code (“UCC”).   ”). The Plan shall provide that all liens, security
                              interests and encumbrances in and to thee Debtor’s assets shall terminate, be
                              discharged and shall not attach to any assets of the Reorganized Debtor from
                              and after the Effective Date. The Plan shall provide that the Reorganized
                              Debtor is authorized and empowered to record any and all termination
                              statements or similar documents to terminate any and all liens, security
                              interests and encumbrances, including as set forth in section 9-509 of the UCC.
                              Upon request of the Reorganized Debtor, all holders of such liens, security
                              interests and encumbrances shall execute and deliver to the Reorganized
                              Debtor appropriate authorizations to record such termination statements or
                              similar documents including pursuant to section 9-513 of the UCC.




 Certain Other Matters            a.   The Debtor shall engage in continuous operations for purposes of
                                       Section 382 of the Internal Revenue Tax Code prior to Plan Effective
                                       Date. The Plan, the Disclosure Statement, and all other documents
                                       filed with the Bankruptcy Court, shall where relevant provide that the
                                       Debtor has maintained continuous operations prior to the Plan
                                       Effective Date, that the Reorganized Debtor intends to maintain
                                       continuous operations from and after the Plan Effective Date, and
                                       shall avoid provisions providing that prior to the Plan Effective Date




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                                             the Debtor has or is terminating operations, liquidating, or provisions
                                             of similar import.

                                        b.   The Debtor and the Reorganized Debtor shall file federal tax returns
                                             that do not elect to forego section 382 (including section 382(l)(5)) of
                                             the Internal Revenue Code for the taxable year in which the Plan
                                             Effective Date occurs, and that otherwise are as reasonably requested
                                             by White Winston.

                                        c.   The Plan Proponents shall serve copies of the Plan, the Disclosure
                                             Statement, and all documents, pleadings and notices filed by the Plan
                                             Proponents therewith or required by the Plan Proponents to be served
                                             on parties in interest pursuant to Fed. R. Bankr. P. 2002 on the United
                                             States Internal Revenue Service, taxing authorities for the State of
                                             Nevada, taxing authorities for the State of California, and the United
                                             States Securities and Exchange Commission.


 Classification and Treatment of Claims and Interests

 Administrative and Priority Tax    On or as soon as practicable following the Plan Effective Date of the Plan, each
 Claims                             holder of an allowed administrative or priority tax claim will be paid in full in
                                    cash (subject to the Wind-Down Budget) or otherwise left unimpaired, unless
                                    otherwise agreed by such holder.

                                    Unimpaired and not entitled to vote.


 Class 1: Other Secured Claims      On or as soon as practicable following the Plan Effective Date, each holder of
                                    an allowed Other Secured Claim will be paid in full in cash or otherwise realize
                                    the value of its collateral, unless otherwise agreed by such holder. Class
                                                                                                           lass 1 will
                                    include separate sub-classes for each applicable secured creditor.   r. For the
                                    avoidance of doubt, this class
                                                               cla does not include any secured claims of Empery,
                                    Prestige, or Ryan Drexler.

                                    Unimpaired and not entitled to vote.


 Class 2: Priority Claims           On or as soon as practicable following the Plan Effective Date of the Plan, each
                                    holder of an allowed priority claim will be paid in full in cash or otherwise left
                                    unimpaired, unless otherwise agreed to by such holder.

                                    Unimpaired and not entitled to vote.


 Class 3: Empery Prepetition        Empery shall compromise and settle with the estate and have an allowed
 Secured Claim                      secured claim in the amount of $18 million (the “Allowed Empery Secured
                                    Claim”), which represents principal and accrued interest and fees through the
                                    Petition Date and excludes the Roll-Up.




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                                 On or as soon as practicable following the Plan Effective Date, holders of the
                                 Allowed Empery Secured Claim shall receive their pro rata sharehare of the Net
                                 Sale Proceeds, not to exceed $12.0 million less the Roll-Up and less the amount
                                 of Empery’s credit bid in the aggregate (the “Empery Payoff Amount”).

                                 Empery shall assign to the Liquidation Trust, for the benefit of holders of
                                 Allowed Class 5 Claims, the economic inte
                                                                       interest in the difference between the
                                 Allowed Empery Secured Claim and the Empery Payoff Amount (the “Empery
                                 Assigned Claim”), including, for the avo
                                                                        avoidance of doubt, any monetary
                                 recovery on such Empery Assigned Claim.

                                 To the extent the Net Sale Proceeds (including the amount, if any, of Empery’s
                                 credit bid) are insufficient to satisfy the Empery Payoff Amount in full, hholders
                                 of Allowed Empery Secured Claims shall forego any further recovery.

                                 To the extent the Plan does not go effective by the August 31, 2023 deadline,
                                 the Debtor and Committee may extend such outside date by up to 30 calendar
                                 days, without the consent of Empery, provided that the Empery Payoff Amount
                                 is paid in full from the Net Sale Proceeds on or before August 31, 2023;
                                 provided, however, to the extent Empery is the successful bidder pursuant to a
                                 credit bid, the outside date may be extended, if necessary, to a mutually agreed
                                 upon date.

                                 Impaired and entitled to vote.


 Class 4: Prestige Prepetition   Prestige shall have an allowed secured claim in the amount of $2,500,000 (the
 Secured Claim                   “Allowed Prestige Secured Claim”), which represents
                                                                              r         principal and accrued
                                 interest and fees through the Petition Date. The Allowed Prestige Secured
                                 Claim shall be subject to reduction from the proceeds of collections on its
                                 prepetition collateral. As of the date of this Term Sheet, the reductions are
                                 approximately $700,000.

                                 The Allowed Prestige Secured Claim shall first be paid from prepetition
                                 accounts receivable and second from the Net Sale Proceeds. For the avoidance
                                 of doubt, the Allowed Prestige Secured Claim shall be subordinate in right to
                                 payment of the Emp
                                                  Empery Assigned Claim, except with respect to prepetition
                                 accounts receivable.

                                 Holders of the Allowed Prestige Secured Claim shall retain all rights and
                                 causes of action against third parties, including but not limited to the guarantee
                                 provided by Ryan Drexler.

                                 Impaired and entitled to vote.


 Class 5: General Unsecured      Class 5 shall consist of all general unsecured claims. Neither Empery, White
 Claims                          Winston, Drexler, nor Prestige (nor any of their affiliates or any of the
                                 individual noteholders) shall have a Class 5 Claim.




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                                For the avoidance of doubt, all holders of Allowed Class 5 Claims shall receive
                                payment in full on account of their allowed claims prior to any cash distribution
                                to holders of claims in Classes 6, 7, and 8.

                                Each holder of an Allowed General Unsecured Claim shall receive its pro rata
                                share of a beneficial interest in the Liquidation Trust.

                                Impaired and entitled to vote.


 Class 6: Drexler Claims        Class 6 shall consist of all claims (secured and unsecured; prepetition
                                                                                               prepe    and
                                postpetition) of Ryan Drexler (collectively, the “Drexler Claims”).

                                On the Plan Effective Date, the Allowed Drexler Claims shall be subordinated
                                to all Allowed Claims, including, but not limited to, all Allowed
                                Administrative Cla
                                                Claims, Allowed Priority Claims, and Allowed General
                                Unsecured Claims.

                                Impaired and entitled to vote.


 Class 7: White Winston Claim   Class 7 shall consist of all claims of White Winston (if any), including all
                                claims arising from that certain Settlement Agreement and Release dated as of
                                December 5, 2022 (the “Settlement Agreement”), by and between White
                                Winston, the Debtor, and Ryan Drexler (collectively, the “White Winston
                                Claims”).

                                Subject to the occurrence of the Plan Effective Date (or, if both the Effective
                                Date has not occurred and the Empery Payoff Amount is paid in full) from the
                                Net Sale Proceeds on or before August 31, 2023, upon entry of the
                                confirmation order if the, the Settlement Agreement shall be deemed an
                                executory contract that the Debtor shall reject under the Plan pursuant to
                                section 365 of the Bankruptcy Code. As a result, White Winston shall have an
                                allowed unsecured claim of $8,630,261.00 arising from rejection of the
                                Settlement Agreement. The Claim shall be treated as follows:

                                    a.   100% (or such other amount as White Winston in its sole discretion
                                         determines) of the new equity interests or, at White Winston’s
                                         election, the prepetition equity interests (collectively, the “New
                                         Equity”), in the Reorganized Debtor in full and final satisfaction of
                                         the claim in the amount of $4,630,261.00. The rights and powers of
                                         holders of New Equity shall be as set forth in the Plan or in related
                                         documents by White Winston. It is the intention of the parties that the
                                         rights and powers of holders of New Equity be determined by White
                                         Winston in connection with the “change of ownership” rules of § 382
                                         of the Internal Revenue Tax Code, including the exceptions to the
                                         ordinary “change of ownership” rules found in sections 382(l)(5) of
                                         the Internal Revenue Tax Code.




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                                     b.   The remaining $4,000,000 of the claim (the “White Winston Retained
                                          Claim”) shall not be discharged and shall remain as a liability of the
                                          post-confirmation Reorganized Debtor. For the avoidance of doubt,
                                          White Winston shall not have a claim against the Liquidation Trust.

                                 Impaired and entitled to vote.


 Class 8: Interests              All existing equity interests in the Debtor shall be cancelled and holders of such
                                 equity interests shall neither receive nor retain anything on account of their
                                 existing equity interests.

                                 Impaired, not entitled to vote, and deemed to reject.


 Liquidation Trust               Liquidation Trustee: Appointed in the sole discretion of the Committee.

                                 Oversight Committee: Three (3) members appointed in the sole discretion of
                                 the Committee.

                                 Vesting of Assets: On the Plan Effective Date, the Liquidation Trust shall be
                                 vested with all assets of the Debtor not sold to the purchaser, not paid to
                                 Empery, and not transferred to, or vested in, the Reorganized Debtor, including
                                 all claims, causes of action, and interests of the Debtor (including all rights,
                                 claims, and causes of action relating to insurance policies) that are not White
                                 Winston D&O Claims. The Liquidation Trust shall also be assigned, as
                                 described above, all rights, claims, causes of action, and interests of holders of
                                 Allowed Empery Secured Claim and Allowed Prestige Secured Claim, solely
                                 in their capacity as such.

                                 Funding:
                                        g: On the Plan Effective Date, the Liquidation Trust shall receive all
                                 cash held by the estate, including the Net Sale Proceeds
                                                                                 Proc      less the Empery Payoff
                                 Amount (the “Liquidation Trust Cash Balance”). F     For the avoidance of doubt,
                                 any remaining funds in the Wind-down Budget shall vest in the Liquidation
                                 Trust. To the extent the Liquidation Trust Cash Balance is less than $500,000,
                                 Empery shall fund the difference to the Liquidation Trust (the “Empery
                                 Liquidation Trust Loan”). The Empery Liquidation Trust Loan shall be repaid
                                 from the proceeds of the Liquidation Trust Assets ahead of any distributions to
                                 holders of Allowed Class 5 Claims. For the avoidance of doubt, Empery’s
                                 obligation to fund the Empery Liquidation Trust Loan shall be a binding
                                 obligation upon the Closing Date (i.e., the closing of the Sale) and such
                                 amounts shall be paid to the Liquidation Trust on the Plan Effective Date (i.e.,
                                 the effective date of the Plan), even if such Plan Effective Date is delayed
                                 beyond the originally contemplated deadline of August 31, 2023.


 Distribution of White Winston   After the Plan Effective Date, the Reorganized Debtor shall pay to the
 D&O Claims                      Liquidation Trust an amount equal to thirty percent (30%) of the proceeds of
                                 the White Winston D&O Claims actually collected by the Reorganized Debtor,




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                              less any fees and expenses related to the Reorganized Debtor’s efforts to
                              recover proceeds of the White Winston D&O Claims.


 Plan Effective Date          The effective date of the Plan (the “Plan Effective Date”) shall be not later than
                              August 31, 2023, unless a different date is otherwise mutually agreed to by the
                              Parties, in which event such different date shall be the Plan Effective Date for
                              all purposes of this Term Sheet. For the avoidance of doubt, the Parties shall
                              use reasonable best efforts to minimize the time between the Sale closing date
                              and the Plan Effective Date, which efforts shall include implementing a Plan
                              timeline that coincides as reasonably as possible with the Sale timeline. The
                              Plan Proponents shall make commercially reasonable efforts to achieve the
                              occurrence of the Plan Effective Date on or before August 31, 2023.

 Plan Support Agreement       White Winston Support. In exchange for the treatment provided White
                              Winston under the terms of this Term Sheet and the Plan, White Winston shall
                              vote in favor of the Plan, shall support the Plan at the Confirmation Hearing,
                              shall not aid, abet or indirectly support any persons or groups objecting to the
                              Plan, shall be precluded from taking any action inconsistent with this Term
                              Sheet, and shall otherwise not object to the Plan, except to the extent the Plan
                              is not consistent with the terms of this Term Sheet.

                              Empery Support. In exchange for the treatment provided Empery under the
                              terms of this Term Sheet and the Plan, Empery shall vote in favor of the Plan,
                              shall support the Plan at the Confirmation Hearing, shall not aid, abet or
                              indirectly support any persons or groups objecting to the Plan, shall be
                              precluded from taking any action inconsistent with this Term Sheet, and shall
                              otherwise not object to the Plan, except to the extent the Plan is not consistent
                              with the terms of this Term Sheet. For the avoidance of doubt, for purposes of
                              this section, the reference to “Empery” includes in its capacity as assignee of
                              the Allowed Prestige Secured Claims.

                              Empery shall take all commercially reasonable efforts to exercise its proxy
                              rights under that certain Intercreditor and Subordination Agreement dated
                              October 13, 2021 (as amended or otherwise modified from time to time),
                              among Ryan Drexler, the Debtor, and Empery Tax Efficient, LP (the “Drexler
                              Intercreditor Agreement”), and cause the Drexler Claims arising from the
                              Subordinated Debt (a(as defined in the Drexler Intercreditor Agreement) to vote
                              in favor of the Plan.

                              This Term Sheet will be formalized in a PSA among the Parties and approved
                              by the Bankruptcy Court on an expedited basis, unless the Parties mutually
                              agree to move forward solely on this Term Sheet, in which case the Debtor will
                              seek approval of the Term Sheet on an expedited basis. For the avoidance of
                              doubt, the Parties shall not directly or indirectly support, vote for, and/or seek
                              confirmation of any chapter 11 plan that differs from the Plan as described in
                              this Term Sheet.




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 Standstill Agreement         Effective upon the filing of this Term Sheet (and continuing upon the execution
                              of the PSA), the Parties shall take all reasonable and necessary steps to
                              immediately stay all pending litigation between or among the Parties (which
                              shall include all aspects of that certain adversary proceeding captioned White
                              Winston Select Asset Funds, LLC v. Empery Tax Efficient LP,        LP Adversary
                              Proceeding No. 23-01014), regardless of venue. Such stay shall remain in
                              place through the earlier of (i) the Plan Effective Date and (ii) twenty-one
                                                                                                twenty-o (21)
                              calendar days following termination of this Term Sheet and the PSA.




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            +;IEBKJ?EDE<?IFKJ;:B7?CI                                  
            ?I7BBEM7D9;E<B7?CI                                         
            C;D:C;DJIJEB7?CI                                           

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           ED:?J?EDI)H;9;:;DJJEED<?HC7J?ED                            
           ED:?J?EDI)H;9;:;DJJEEDIKCC7J?EDEDJ>;<<;9J?L;7J;      
           07?L;HE<ED:?J?EDI                                            
           <<;9JE<'ED (99KHH;D9;E<ED:?J?EDIJEEDIKCC7J?ED          

+-"%1"                                                                    
             ECFHEC?I;7D:,;JJB;C;DJ                                      
             )H;I;HL7J?EDE<+?=>JIE<9J?ED                               

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            &E:?<?97J?EDE<)B7D                                           
            +;LE97J?EDE<)B7D                                             
            ,K99;IIEHI7D:II?=DI                                         
            +;I;HL7J?EDE<+?=>JI                                          
            ,;9J?EDN;CFJ?ED                                         
             KHJ>;HIIKH7D9;I                                             
      !      ,;L;H78?B?JO                                                   
      "      ,;HL?9;E<E9KC;DJI                                           
      #      +;JKHDE<,;9KH?JO;FEI?JI                                    
      $      ?B?D=E<::?J?ED7BE9KC;DJI                                 
      %      ;<7KBJ                                                        
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7BBEM78B;KD:;HI;9J?EDI   7  EH  E<J>;7DAHKFJ9OE:;EHEJ>;HM?I;H;D:;H;:7BBEM78B;FH?EH
JEJ>;ED<?HC7J?ED7J;8O7DO+;J7?D;:)HE<;II?ED7BI?DJ>;>7FJ;H7I; J>7JJ>;7DAHKFJ9OEKHJ>7IDEJ
:;D?;:8O7?D7B(H:;H JEJ>;;NJ;DJJ>7J7DOIK9><;;I7D:;NF;DI;I>7L;DEJ8;;DFH;L?EKIBOF7?:H;=7H:B;IIE<
M>;J>;H7<;;7FFB?97J?ED>7I8;;D?B;:<EH7DOIK9>7CEKDJ 

                D-6272<=;*=2?.5*26UC;7DI7DOB7?C<EH9EIJI7D:;NF;DI;IE<7:C?D?IJH7J?EDE<J>;IJ7J; 7D:
J>;>7FJ;H7I; KD:;HI;9J?EDI       8  7  8EH;E<J>;7DAHKFJ9O
E:;;N9BK:?D=9B7?CIKD:;HI;9J?ED 8E<J>;7DAHKFJ9OE:; ?D9BK:?D= M?J>EKJB?C?J7J?ED7J>;79JK7B
7D:D;9;II7HO9EIJI7D:;NF;DI;I?D9KHH;:7<J;HJ>;ECC;D9;C;DJ7J;E<FH;I;HL?D=J>;IJ7J;7D:EF;H7J?D=J>;
8KI?D;IIE<J>;;8JEH8BBEM;:)HE<;II?ED7BECF;DI7J?ED7D:97BB<;;I7D:9>7H=;I7II;II;:7=7?DIJJ>;
IJ7J;KD:;H9>7FJ;HE<J?JB;E<J>;.D?J;:,J7J;IE:; J>;#K:?9?7BE:; . ,  QQ  

                   D-6272<=;*=2?.5*26*;*=.EC;7DIJ>;;D:E<J>;<?HIJKI?D;II7OE99KHH?D=EDEH7<J;HJ>;
J>?HJ?;J> J>97B;D:7H:7O7<J;HJ>;<<;9J?L;7J;

                  T//252*=.U>7IJ>;C;7D?D=I;J<EHJ>7JI;9J?ED E<J>;7DAHKFJ9OE:;

                   D558@.-E C;7DI M?J>H;IF;9JJEB7?CIEHGK?JO"DJ;H;IJI7
                                               F                     G O              7DOB7?CEHGK?JO"DJ;H;IJ
                                                                                          O           G O            FHEE<
                                                                                                                      F
                   O       O      FF
E<M>?9>?IJ?C;BO?B;:8OJ>;7FFB?978B;B7?CI7H7J;EHM>?9>8OJ>;7DAHKFJ9OE:;EH?D7B(H:;H?IDEJEH
I>7BBDEJ8;H;GK?H;:JE8;?B;: 7DOB7?CEHGK?JO"DJ;H;IJJ>7J?IB?IJ;:?DJ>;,9>;:KB;I7IE<J>;<<;9J?L;
I>7BBDEJ8;H;GK?H;:JE8;?B;:8
7J;7IDEJ9EDJ?D=;DJ DEJKDB?GK?:7J;:7D:DEJ?IFKJ;: EH:?IFKJ;:M?J>?DJ>;C;7D?D=E<,;9J?ED7E<J>;
                                                                                      O
7DAHKFJ9OE:; 7D:<EHM>?9>DE)HEE<E<B7?CEH"DJ;H;IJ>7I8;;DJ?C;BO?B;:EH9     7DOB7?CEHGK?JO
                                                                                                       O              G O
                   F                    9
"DJ;H;IJBBEM;:FKHIK7DJJEJ>;)B7D9;8?2-.-    18@.?.; J>7JM?J>H;IF;9JJE7DOB7?CEHGK?JO"DJ;H;IJ:;I9H?8;:
                                                                           F      7DOB7?CEHGK?JO"DJ;H;IJ:;I9H?8;:
                                                                                      O           G O
?D9B7KI;778EL;
                   IK9>B7?CEHGK?JO"DJ;H;IJI>7BB8;9EDI?:;H;:BBEM;:EDBO?<7D:JEJ>;;NJ;DJJ>7JNM?J>
                                       G O                                              O                           
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    F         O           G O            DEE8@;9J?EDJEJ>;7BBEM7D9;J>;H;E<>7I8;;D?DJ;HFEI;:M?J>?DJ>;7FFB?978B;
                                               @                                               F                 FF
                                         DEE8@;9J?EDJEJ>;7BBEM7D9;J>;H;E<>7I8;;D?DJ;HFEI;:M?J>?DJ>;7FFB?978B;
F;H?E:E<J?C;<?N;:8OJ>;)B7D
F                      O          J
                                  J>;7DAHKFJ9OE:;
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                                  J>;7DAHKFJ9OE:;    J>;7DAHKFJ9O+KB;IEHJ>;7DAHKFJ9OEKHJ
                                                                       F O                       F O       EHOIK9>7D
                                                                                                               O
E8@;9J?ED?IIE?DJ;HFEI;:7D:J>;B7?CEHGK?JO"DJ;H;IJI>7BB>7L;8;;DBBEM;:<EH:?IJH?8KJ?EDFKHFEI;IEDBO8O
   @
E8@;9J?ED?IIE?DJ;HFEI;:7D:J>;B7?CEHGK?JO"DJ;H;IJI>7BB>7L;8;;DBBEM;:<EH:?IJH?8KJ?EDFKHFEI;IEDBO8O
7?D7B(H:;H DOB7?CJ>7J>7I8;;DEH?I>;H;7<J;HB?IJ;:?DJ>;,9>;:KB;I7I9EDJ?D=;DJ KDB?GK?:7J;:EH:?IFKJ;: 
7D:<EHM>?9>DE)HEE<E<B7?C>7I8;;DJ?C;BO?B;: ?IDEJ9EDI?:;H;:BBEM;:7D:I>7BB8;;NFKD=;:M?J>EKJ
<KHJ>;H79J?ED8OJ>;;8JEH J>;+;EH=7D?P;:;8JEH EHJ>;%?J?=7J?ED -HKIJ;; 7D:M?J>EKJ7DO<KHJ>;HDEJ?9;JEEH
79J?ED EH:;HEH7FFHEL7BE<J>;7DAHKFJ9OEKHJ 

                   D558@.--6272<=;*=2?.5*26E C;7DI7D:C?D?IJH7J?L;B7?C7IJEM>?9>DEE8@;9J?ED>7I8;;D
<?B;:EH ?<7DOE8@;9J?ED>7I8;;D<?B;: >7I8;;DH;IEBL;:8OJ>;7BBEM7D9;E<IK9>:C?D?IJH7J?L;B7?C8O7?D7B
(H:;HE<J>;7DAHKFJ9OEKHJEHM>?9>H;GK?H;IF7OC;DJ?DJ>;EH:?D7HO9EKHI;7D:7IJEM>?9>J>;H;?IDE?D7B
(H:;HE<J>;7DAHKFJ9OEKHJ?D;<<;9JM>?9>FHE>?8?JI7DOIK9>F7OC;DJ

                D558@.-";8/.<<287*5869.7<*=287E C;7DI7BB99HK;:)HE<;II?ED7BECF;DI7J?EDBBEM;:EH
7M7H:;:8O7?D7B (H:;HE<J>;7DAHKFJ9OEKHJEH7DOEJ>;H9EKHJE<9ECF;J;DJ@KH?I:?9J?ED

                  T<<.=<UC;7DI7BBE<J>;;8JEHWIH?=>J J?JB;7D:?DJ;H;IJE<7DOD7JKH;?DFHEF;HJO ?DJ;H;IJI 7II;JI 
7D: EH;<<;9JI H;7B7D:F;HIED7B J7D=?8B;7D:?DJ7D=?8B; M>;H;L;HBE97J;: EHI?JK7J;: 7IIF;9?<?;:?DI;9J?EDE<
                                                                                                         
J>;7DAHKFJ9OE:; ?D9BK:?D= M?J>EKJB?C?J7J?ED 7KI;IE<9J?ED 7D:<EH7LE?:7D9;E<:EK8JJ>;LE?:7D9;
          F
9J?EDI FHEL?:;:               ;N9BK:;: II;JII>7BB8;IF;9?<?97BBO;N9BK:;:<HECJ>;II;JIIEB:JEJ>;)KH9>7I;H
                    >EM;L;H J>;N9BK:;:
7J J>;,7B;

                 T?82-*7,.,=287<UC;7DI7DO7D:7BB9B7?CI7D:97KI;IE<79J?EDM>?9>7DOE<J>;;8JEH J>;
:;8JEH?DFEII;II?ED J>;IJ7J; EHEJ>;H7FFHEFH?7J;F7HJO?D?DJ;H;IJ>7I7II;HJ;:EHC7O7II;HJKD:;HI;9J?EDI  
     J>HEK=> EH7 E<J>;7DAHKFJ9OE:;EHKD:;HI?C?B7HEHH;B7J;:IJ7J;EH<;:;H7B
IJ7JKJ;I 7D: 9ECCED B7M  ?D9BK:?D= <H7K:KB;DJ JH7DI<;H B7MI  H;=7H:B;II E< M>;J>;H EH DEJ IK9> 79J?ED >7I 8;;D
9ECC;D9;:EDJ>;<<;9J?L;7J;

                D*558=E C;7DIJ>; <EHCE<87BBEJEH 87BBEJI799ECF7DO?D= 7D::?IJH?8KJ;:M?J> J>;?I9BEIKH;
,J7J;C;DJ 7FFHEL;:8OJ>;7DAHKFJ9OEKHJKFEDM>?9>9;HJ7?D!EB:;HIE<"CF7?H;:B7?CICE:?<?;: 7ID;9;II7HO 
87I;:EDLEJ?D=F7HJO?D799EH:7D9;M?J>J>;?I9BEIKH;,J7J;C;DJ(H:;H;DJ?JB;:JELEJ;I>7BB 7CED=EJ>;HJ>?D=I 




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?D:?97J; J>;?H 799;FJ7D9; EH H;@;9J?ED E< J>; )B7D ?D 799EH:7D9; M?J> J>; )B7D 7D: J>; FHE9;:KH;I =EL;HD?D= J>;
IEB?9?J7J?EDFHE9;II 7D:M>?9>CKIJ8;79JK7BBOH;9;?L;:EDEH8;<EH;J>;/EJ?D=;7:B?D;

              D*74;>9=,B8-.E C;7DIJ>;7DAHKFJ9O+;<EHC9JE< -?JB;.D?J;:,J7J;IE:; 
. ,  QQ   7IDEM?D;<<;9JEH>;H;7<J;H7C;D:;: 7I7FFB?978B;JEJ>;>7FJ;H7I;

                 D*74;>9=,B8>;=E C;7DIJ>;.D?J;:,J7J;I7DAHKFJ9OEKHJ<EHJ>;?IJH?9JE<';L7:7 >7L?D=
@KH?I:?9J?EDEL;HJ>;>7FJ;H7I; 7D:JEJ>;;NJ;DJE<J>;M?J>:H7M7BE<7DOH;<;H;D9;KD:;HI;9J?EDE<-?JB;
E<J>;.D?J;:,J7J;IE:;7D: EHJ>;(H:;HE<J>;.D?J;:,J7J;I?IJH?9JEKHJ<EHJ>;?IJH?9JE<';L7:7FKHIK7DJ
JEI;9J?ED7E<-?JB;E<J>;.D?J;:,J7J;IE:; J>;.D?J;:,J7J;I?IJH?9JEKHJ<EHJ>;?IJH?9JE<';L7:7 

                  T*74;>9=,B#>5.<UC;7DIJ>;;:;H7B+KB;IE<7DAHKFJ9O)HE9;:KH; 9EBB;9J?L;BO 7I7FFB?978B;
JE J>; >7FJ;H  7I;  FHECKB=7J;: KD:;H  . ,   Q   7D: J>; =;D;H7B  BE97B  7D: 9>7C8;HI HKB;I E< J>;
7DAHKFJ9OEKHJ 7IDEM?D;<<;9JEH>;H;7<J;H7C;D:;: 

                T><27.<<*BUC;7DI7DO:7O EJ>;HJ>7D7,7JKH:7O ,KD:7OEHTB;=7B>EB?:7OU7I:;<?D;:?D
7DAHKFJ9O+KB; 7 7D:IF;9?<?97BBO;N9BK:;I7DOEJ>;H:7OEDM>?9>9ECC;H9?7B87DAI7H;7KJ>EH?P;:JE9BEI;
KD:;HJ>;B7MIE< EH7H;?D<79J9BEI;:?D J>;,J7J;E<';L7:7

                T*<1UC;7DIJ>;B;=7B J;D:;HE<J>;.D?J;:,J7J;IE<C;H?97EHJ>;;GK?L7B;DJJ>;H;E< ?D9BK:?D=
87DA:;FEI?JI 9>;9AI 7D:EJ>;HI?C?B7H?J;CI 

                    T*><.< 8/ / ,=287U C;7DI 7BB 79J?EDI  97KI;I E< 79J?ED ?D9BK:?D=
                                                                                                  = LE?:7D9; 9J?EDI  B7?CI 
B?78?B?J?;I E8B?=7J?EDI
                  =         H?=>JI
                               = IK?JI :;8JI :7C7=;I = @K:=C;DJI
                                                              @ =        H;C;:?;I :;C7D:I I;JE<<I :;<;DI;I H;9EKFC;DJI F        
9HEII9B7?CI 9EKDJ;H9B7?CI J>?H: FF7HJO9B7?CI
                                            O         ?D:;CD?JO9B7?CI
                                                                O                                  EH7DOEJ>;H9B7?CI:?IFKJ;:EH
                                                                                                         O                  F
                                                                          9EDJH?8KJ?ED9B7?CI EH7DOEJ>;H9B7?CI:?IFKJ;:EH
KD:?IFKJ;:
      F        IKIF;9J;:
                    F        EH KDIKIF;9J;:
                                      F        <EH;I;;D EH KD<EH;I;;D  :?H;9J EH ?D:?H;9J  9>E7J; EH ?D9>E7J;  ;N?IJ?D=
                                                                                                                                 = EH
>;H;7<J;H 7H?I?D==  ?D B7M  ;GK?JO
                                  G O EH EJ>;HM?I;  87I;: ?D M>EB; EH ?D FF7HJ KFED
                                                                                         F 7DO O 79J EH EC?II?ED EH EJ>;H ;L;DJ
E99KHH?D== FH?EH
             F      JE J>; ECC;D9;C;DJ 7J; EH :KH?D= J>; 9EKHI; E< J>; >7FJ;H  7I;  ?D9BK:?D= J>HEK=> J>;
<<;9J?L;7J;

               T1*9=.;  *<.U C;7DI J>; 9>7FJ;H  97I; F;D:?D= 8;<EH; J>; 7DAHKFJ9O EKHJ <EH J>;
97FJ?ED;: ;8JEHKD:;H9>7FJ;HE<J>;7DAHKFJ9OE:;

                  T5*26UC;7DI7DO9B7?C7=7?DIJJ>;;8JEH7I:;<?D;:?DI;9J?ED E<J>;7DAHKFJ9OE:;

                T5*26< *; *=.U C;7DI  7I 7FFB?978B;  7 FH?B      7I J>; =;D;H7B 9B7?CI 87H :7J; 7D:
8 J>; EL;HDC;DJ7B7H7J;E<#KD;   EH9 IK9>EJ>;HF;H?E:E<B?C?J7J?ED7IC7O8;IF;9?<?97BBO<?N;:8O
7DEH:;HE<J>;7DAHKFJ9OEKHJ<EH?B?D=IK9>B7?CI 

                  D5*26<!+3.,=287*;*=.E C;7DI <EH;79>B7?C J>;B7J;HE<7  :7OI7<J;HJ>;<<;9J?L;
7J;7D:8 IK9>EJ>;HF;H?E:E<B?C?J7J?ED7IC7O8;IF;9?<?97BBO<?N;:8O7DEH:;HE<J>;7DAHKFJ9OEKHJ<EH
E8@;9J?D=JEIK9>B7?CI9;8?2-.-18@.?.; J>7J?DDE;L;DJI>7BBJ>;B7?CI(8@;9J?ED7H7J;8;=H;7J;HJ>7D 
:7OI7<J;HJ>;<<;9J?L;7J;M?J>H;IF;9JJE7DO ;D;H7B.DI;9KH;:B7?C?DB7II 

                  D5*26<#.02<=.;E C;7DIJ>;E<<?9?7BH;=?IJ;HE<B7?CIC7?DJ7?D;:8OJ>;7DAHKFJ9OEKHJ

                T5*<<UC;7DI797J;=EHOE<!EB:;HIE<B7?CIEHGK?JO"DJ;H;IJI7II;J<EHJ>?DHJ?9B;""">;H;E<
FKHIK7DJJE,;9J?EDI77D:7 E<J>;7DAHKFJ9OE:; 

                  T58<270*=.UC;7DIJ>;:7J;E<J>;9BEI?D=E<J>;,7B;E<J>;;8JEHWIII;JI 

                D866.7,.6.7= *=.E C;7DI J>; :7J; ED M>?9> ;8JEH 9ECC;D9;: J>; 97FJ?ED;: >7FJ;H 
7I;8O?B?D=7LEBKDJ7HOF;J?J?ED<EHH;B?;<KD:;H,;9J?ED E<J>;7DAHKFJ9OE:; ;9;C8;H   

                  T8662==..UC;7DI J>;(<<?9?7BECC?JJ;;E<.DI;9KH;:H;:?JEHI<EH&KI9B;)>7HCEHFEH7J?ED 



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                T2<,58<>;.$=*=.6.7=!;-.;UC;7DIJ>7J9;HJ7?D!;-.;299;8?270%1. 2<,58<>;.$=*=.6.7=
2299;8?270%1.8;6!/*558=<7-";898<.-$852,2=*=2877-%*+>5*=287";8,.->;.<2222A270%1.'8=270
.*-527.(2=1#.<9.,=%8%1..+=8;F<1*9=.; "5*72?";.<,;2+270%1.8;67-*77.;!/ 8=2,.%1.;.8/
?2A270 %1.*<=*=.8;25270!+3.,=287<%8%1.1*9=.; "5*7?2$,1.->5270.*;270%887<2-.;
87/2;6*=287 !/ %1. 1*9=.;  "5*7 *7- ?22 99827=270 %1. $,1@*;=C *@ 2;6 7, < $852,2=*=287 7-
%*+>5*=2870.7= 7FFHEL;:8OJ>;7DAHKFJ9OEKHJED4"',+--5 7IJ>;EH:;HC7O8;7C;D:;:<HECJ?C;
JEJ?C;

                  TT2<9>=.-
                         9      5*26U C;7DI  M?J> H;IF;9J
                                5*26U                   F    JE 7DO
                                                                     O B7?C EH GK?JO
                                                                                    G O "DJ;H;IJI  7DO
                                                                                                       O B7?C EH GK?JO
                                                                                                                     G O
                                                                                                                    GK?JO
"DJ;H;IJIB?IJ;:ED7J>;B7?CI+;=?IJ;HJ>7J?IJ>;IK8@;9JE<7DE8@;9J?EDJE9B7?C<?B;:M?J>J>;7DAHKFJ9OEKHJ
                                    =                     @           @                                                  
EH8,9>;:KB;:7I?IFKJ;:<EHM>?9>9B7?C7FHEE<E<9B7?CM7I<?B;: 

                 T2<=;2+>=2870.7=UC;7DIJ>;;8JEH J>;+;EH=7D?P;:;8JEH EHJ>;%?J?=7J?ED -HKIJ;; 

                 D2<=;2+>=287#.,8;-*=.E C;7DIJ>;:7J;<EH:;J;HC?D?D=M>?9>!EB:;HIE<B7?CI7H;;B?=?8B;
JEH;9;?L;:?IJH?8KJ?EDI>;H;KD:;H7D:I>7BB8;J>;/EJ?D=;7:B?D;EHIK9>EJ>;H:7J;7I:;I?=D7J;:?D7DEH:;HE<J>;
7DAHKFJ9OEKHJ 

              T
                T;.A5.; UC;7DI+O7DH;NB;H
                                   O
                T;.A5.;UC;7DI+O7DH;NB;H  7D?D:?L?:K7B 7D:J>;;8JEHWI<EHC;H>?;<N;9KJ?L;(<<?9;H7D:
<EHC;H>7?HC7DE<J>;E7H:E<?H;9JEHI 

               T//.,=2?. *=.U EH T"5*7 //.,=2?. *=.U C;7DI J>; :7O J>7J ?I J>; <?HIJ KI?D;II 7O 7<J;H J>;
ED<?HC7J?ED7J;EDM>?9>7DEIJ7OE<J>;ED<?HC7J?ED(H:;H?I?D;<<;9J7D:87BB9ED:?J?EDIIF;9?<?;:?D
HJ?9B;"1 >;H;E<>7L;8;;D?I7J?I<?;:EH??M7?L;:FKHIK7DJ JEHJ?9B;"1 >;H;E<

             T//.,=2?.*=..*-527.UC;7DIK=KIJ   KDB;II;NJ;D:;:FKHIK7DJJEJ>;J;HCIE<J>;)B7D
,KFFEHJ=H;;C;DJ 

                    9 B             F O
                 T69.;BUC;7DICF;HO-7N<<?9?;DJ      %) ?D?JI97F79?JO7I9EBB7J;H7B7=;DJ<EH9;HJ7?D,;9KH;:
'EJ;>EB:;HI7I:;<?D;:?DJ>;CF;HO)HEE<E<B7?C 

                      9 B "*;=2.<U C;7DI &) EBB7J;H7B %%  7I IK99;IIEH JE J>; 9B7?CI E< ?
                   T69.;B                                                                                J>; ,;9KH;:
'EJ;>EB:;HI7I:;<?D;:?DJ>;CF;HO)HEE<E<B7?C7D:??)H;IJ?=;7F?J7B?D7D9;
                                   F O                             =      F              %% 7D:CF;HO-7N
<<?9?;DJ %) ?D?JI97F79?JO7I&)EBB7J;H7BWI?D7D9?D==;DJ7D:7IEBB7J;H7B=;DJ 

              T69.;B
                    9    ";.9.=2=287 $.,>;.- 5*26U C;7DI J>; 7CEKDJ E<     7I I;J <EHJ> ED J>;
                                                                                                                 J>;
CF;HO)HEE<E<B7?C 

                  9 B         / /                            F                    O
                 T69.;B";88/8/5*26UC;7DIJ>7J9;HJ7?DFHEE<E<9B7?C<?B;:8O&)EBB7J;H7B7D::;DEC?D7J;:
EDJ>;7DAHKFJ9OEKHJWIE<<?9?7B9B7?CH;=?IJ;H7I)HEE<E<B7?C'E ?DJ>;7CEKDJE<    

                 T7=2=BUC;7DI7D;DJ?JO7I:;<?D;:?DI;9J?ED E<J>;7DAHKFJ9OE:;

                T:>2=B7=.;.<=UC;7DI7DO7;GK?JOI;9KH?JO?DJ>;;8JEH 7I:;<?D;:?D,;9J?ED E<J>;
7DAHKFJ9OE:; ?D9BK:?D=7BB?IIK;: KD?IIK;: 7KJ>EH?P;: EHEKJIJ7D:?D=I>7H;IE<IJE9A EHC;C8;HI>?F?DJ;H;IJI
?D;8JEH JE=;J>;HM?J>7DOM7HH7DJI EFJ?EDI EH9EDJH79JK7BH?=>JIJEFKH9>7I;EH79GK?H;IK9>;GK?JOI;9KH?J?;I7J
7DOJ?C;7D:7BBH?=>JI7H?I?D=M?J>H;IF;9JJ>;H;JEEH8F7HJD;HI>?F B?C?J;:B?78?B?JO9ECF7DO EHI?C?B7H?DJ;H;IJ?D
J>;;8JEH 

                 T<=*=.UC;7DI 7IJEJ>;;8JEH J>;;IJ7J;9H;7J;:<EHJ>;;8JEH?D?JI>7FJ;H7I;FKHIK7DJ
JEI;9J?EDE<J>;7DAHKFJ9OE:; 

                  DA,1*70.,=E C;7DIJ>;,;9KH?J?;I9JE< . ,  QQ 7 77 EH7DOI?C?B7H<;:;H7B 
IJ7J; EHBE97BB7M 




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                TA,5>-.-<<.=<UC;7DI;79>E<J>;<EBBEM?D=?J>;N9BK:;:")??J>;7KI;IE<9J?ED7D:
???J>;0>?J;0?DIJED(B7?CI 
                                                                                   
                TA,5>-.-"U   C;7DIJ>;?DJ;BB;9JK7BFHEF;HJO<EHE9E)HEJ;?D
                                                          F F O
                  TA,5>-.-"UC;7DIJ>;?DJ;BB;9JK7BFHEF;HJO<EHE9E)HEJ;?D     M>?9>M?BBH;C7?DFHEF;HJOE<
                                                                                                          F F O
J>;IJ7J; ->;IJ7J; >EM;L;H I>7BBFHEL?:;J>;)KH9>7I;HM?J>7D;N9BKI?L;ED; O;7HB?9;DI;E<J>;N9BK:;:") 

                  TA,>59*=.-"*;=2.<UC;7DI
                           9                       9EBB;9J?L;BOO 7D:?DJ>;>7FJ;H7I;?D?JI97F79?JO7IIK9>7J>;
                                                                                   F                     F O              
;8JEH7D:J>;+;EH=7D?P;:;8JEH8
                      =                   J>;ECC?JJ;;9J>;CF;HO)7HJ?;I
                                                                         F O          : J>;0>?J;0?DIJED)7HJ?;I 7D:
;8JEH7D:J>;+;EH=7D?P;:;8JEH8J>;ECC?JJ;;9J>;CF;HO)7HJ?;I:J>;0>?J;0?DIJED)7HJ?;I7D:
;J>;+;J7?D;:)HE<;II?ED7BI
                                 7D:<M?J>H;IF;9JJE;79>E<J>;<EH;=E?D=DJ?J?;I
                                       <          F                         = =
;J>;+;J7?D;:)HE<;II?ED7BI7D:<M?J>H;IF;9JJE;79>E<J>;<EH;=E?D=DJ?J?;I          ;79>IK9>DJ?JOWI9KHH;DJ7D:
                                                                                                                O
                                                                                                ;79>IK9>DJ?JOWI9KHH;DJ7D:
         F
<EHC;HFH;:;9;IIEHI   IK99;IIEHI <<?B?7J;IH;=7H:B;IIE<M>;J>;HIK9>?DJ;H;IJI7H;>;B::?H;9JBOEH?D:?H;9JBO
                                                 =                                                        O             O 7D:
            O                                 G O
IK9>DJ?JOWI7D:?JI9KHH;DJ7D:<EHC;H;GK?JO>EB:;HI      E<<?9;HI :?H;9JEHI C7D7=;HI
                                                                                        = FH?D9?F7BI
                                                                                                F     F C;C8;HI C7D7=?D=
                                                                                                                     C7D7=?D=
                                                                                                                           = =
C;C8;HI ;CFBEO;;I
                F O    7=;DJI
                         =     7:L?IEHO8E7H:C;C8;HI
                                        O                    IK8I?:?7H?;I :?H;9J7D:?D:?H;9J;GK?JO>EB:;HI
                                                                                                  G O          <KD:I FEHJ<EB?E
                                                                                                                       F
                                                                                                                      FEHJ<EB?E
      F
9ECF7D?;I          =
              C7D7=;C;DJ       F
                            9ECF7D?;I     9EDIKBJ7DJI  <?D7D9?7B 7:L?IEHI 799EKDJ7DJI  ?DL;IJC;DJ 87DA;HI  9EDIKBJ7DJI 
H;FH;I;DJ7J?L;I 7D: 7JJEHD;OI7=7?D ;79>?DJ>;?H97F79?JO7IIK9>

                  TA.,>=8;B87=;*,=UC;7DI79EDJH79JJEM>?9>J>;;8JEH?I 7F7HJOJ>7J?IIK8@;9JJE7IIKCFJ?ED
EHH;@;9J?EDKD:;HI;9J?EDIEHE<J>;7DAHKFJ9OE:; B?IJE<J>;;8JEHWIN;9KJEHOEDJH79JI?I?D9BK:;:
?D,9>;:KB; E<;8JEHWI,9>;:KB;I 'EI 7D: 7I7FFB?978B; 

              D.. 5*26E C;7DI 7 B7?C KD:;H I;9J?EDI      7        EH   E< J>;
7DAHKFJ9OE:;<EH99HK;:)HE<;II?ED7BECF;DI7J?ED 

                D25.E EHD25.-E C;7DI<?B; <?B;:EH<?B?D=M?J>J>;7DAHKFJ9OEKHJEH?JI7KJ>EH?P;::;I?=D;;
?DJ>?I>7FJ;H7I;

                 T27*5!;-.;UC;7DI7DEH:;HEH@K:=C;DJE<J>;7DAHKFJ9OEKHJ EHEJ>;H9EKHJE<9ECF;J;DJ
@KH?I:?9J?EDM?J>H;IF;9JJEJ>;IK8@;9JC7JJ;H 7I;DJ;H;:EDJ>;:E9A;J?DJ>;>7FJ;H7I;EHJ>;:E9A;JE<7DO
9EKHJE<9ECF;J;DJ@KH?I:?9J?ED J>7J>7IDEJ8;;DH;L;HI;: IJ7O;: CE:?<?;:EH7C;D:;: 7D:7IJEM>?9>J>;J?C;JE
7FF;7B EHI;;A9;HJ?EH7H?EHCEL;<EH7D;MJH?7B H; 7H=KC;DJEHH;>;7H?D=>7I;NF?H;:7D:DE7FF;7BEHF;J?J?ED<EH
9;HJ?EH7H?EHEJ>;HFHE9;;:?D=I<EH7D;MJH?7B H; 7H=KC;DJEHH;>;7H?D= 8;;DJ?C;BOJ7A;D EH7IJEM>?9>7DO7FF;7B
J>7J>7I8;;DJ7A;DEH7DOF;J?J?ED<EH9;HJ?EH7H?J>7J>7I8;;DJ?C;BO?B;:>7I8;;DM?J>:H7MDEHH;IEBL;:8OJ>;
>?=>;IJ9EKHJJEM>?9>J>;EH:;HEH@K:=C;DJM7I7FF;7B;:EH<HECM>?9>9;HJ?EH7H?M7IIEK=>JEHJ>;D;MJH?7B H;
7H=KC;DJ EH H;>;7H?D= I>7BB >7L; 8;;D :;D?;:  H;IKBJ;: ?D DE CE:?<?97J?ED E< IK9> EH:;H EH >7I EJ>;HM?I; 8;;D
:?IC?II;:M?J>FH;@K:?9;

                 T27*5"!;-.;UC;7DIJ>7J9;HJ7?DEH:;H7FFHEL?D=J>;")?D7D9?D=ED7<?D7B87I?I;DJ;H;:
8O J>; 7DAHKFJ9O EKHJ ED &7H9>     4 'E  5  M>?9> 7KJ>EH?P;: J>; ;8JEH JE ? 8EHHEM KF JE
          <HEC CF;HO  ?? <79JEH H;9;?L78B;I KF JE       <HEC CF;HO  7D: ??? E8J7?D 7D ?DL;DJEHO
79GK?I?J?EDB?D;<HECCF;HOE< KFJE              

                 D.7.;*5 &7<.,>;.- 5*26U C;7DI 7 9B7?C 7=7?DIJ J>; ;8JEH J>7J ?I DEJ ? 7D :C?D?IJH7J?L;
B7?C ??7)H?EH?JO-7NB7?C ???)H?EH?JO'ED -7NB7?C ?L;;B7?C L,;9KH;:B7?C EHL?07H;>EKI;
B7?C 

                 D8?.;76.7=*5 *; *=.E C;7DI #KD;      EH IK9> EJ>;H F;H?E: E< B?C?J7J?ED 7I C7O 8;
IF;9?<?97BBO<?N;:8O7DEH:;HE<J>;7DAHKFJ9OEKHJ<EH?B?D=IK9>B7?CI8O=EL;HDC;DJ7BKD?JI;D9ECF7II;:
8O,;9J?ED E<J>;7DAHKFJ9OE:;

                 T85-.;UC;7DI7DDJ?JO>EB:?D=7B7?C EH7DGK?JO"DJ;H;IJ

                 D69*2;.-UC;7DI7DOB7?CI?D7D"CF7?H;:B7II

                 T69*2;.-5*<<UC;7DI7D?CF7?H;:B7IIM?J>?DJ>;C;7D?D=E<I;9J?EDE<J>;7DAHKFJ9O
E:;




                                                               
                                                          &
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                   T72=2*52<=;2+>=287*=.UC;7DIJ>;:7J;J>7J?I7IIEED7IFH79J?978B;7<J;HJ>;<<;9J?L;7J; 8KJ
DEB7J;HJ>7DJ>?HJO :7OI7<J;HJ>;<<;9J?L;7J; M>;D:?IJH?8KJ?EDIKD:;HJ>;)B7DI>7BB9ECC;D9;

                  T7<2-.;UI>7BB>7L;J>;C;7D?D=7I9H?8;:JE?JKD:;H,;9J?ED E<J>;7DAHKFJ9OE:;

                T 0
                  T2=20*=287 %;><=U C;7DI J>7J 9;HJ7?D ==H7DJEH JHKIJ 9H;7J;: <EH J>; 8;D;<?JI E< >EB:;HI E< B7II 
B7?CI7D:7I<KHJ>;H:;I9H?8;:?DHJ?9B; / E<J>?I
B7?CI7D:7I<KHJ>;H:;I9H?8;:?DHJ?9B;/          )B7D
                                                 E<J>?I)B7D

               T" 855*=.;*5U C;7DI &) EBB7J;H7B %%  7I IK99;IIEH JE J>; 9B7?CI E< ? J>; ,;9KH;:
'EJ;>EB:;HI7I:;<?D;:?DJ>;CF;HO)HEE<E<B7?C7D:??)H;IJ?=;7F?J7B?D7D9; %% 

                 T .=$*5.";8,..-<UC;7DIJ>;97I>FHE9;;:I<HECJ>;,7B;5.<<
                                                        F
                     .=$*5.";8,..-<UC;7DIJ>;97I>FHE9;;:I<HECJ>;,7B;5.<< 7DO<;;I7D:;NF;DI;IH;B7J;:JE
           5.<< J>;")(8B?=7J?ED)7OE<< 7D:5.<< J>;0?D: :EMDK:=;J 
IK9>,7B; 5.<<

                D .@:>2=B7=.;.<=<E C;7DIJ>;;GK?JO?D+;EH=7D?P;:;8JEHJE8;7KJ>EH?P;: ?IIK;:EHH;I;HL;:
EDJ>;<<;9J?L;7J;FKHIK7DJJEJ>;)B7D M>?9>I>7BB9EDIJ?JKJ;7BBE<J>;:?H;9JEH?D:?H;9J;GK?JOE<J>;+;EH=7D?P;:
;8JEH 

               T!//2,2*5,=287<UC;7DI79J?EDIJ7A;D8OJ>;N9KBF7J;:)7HJ?;I?DJ>;?HE<<?9?7B97F79?J?;I?DJ>;
>7FJ;H7I;7<J;HJ>;ECC;D9;C;DJ7J; J>HEK=>J>;ED<?HC7J?ED7J; 

                                                                                         EJ>;HJ>7DJ>;CF;HO
                  T!=1.;$.,>;.-5*26<UC;7DI7BBEJ>;H,;9KH;:B7?CI7=7?DIJJ>;;8JEH EJ>;HJ>7DJ>;CF;HO
)H;F;J?J?ED,;9KH;:B7?C7D:J>; )H;IJ?=;)H;F;J?J?ED,;9KH;:B7?C 

                 D".;28-2,2<=;2+>=287*=.E C;7DI J>;<?HIJKI?D;II7OJ>7J?I7IIEED7IH;7IED78BOFH79J?978B;
E99KHH?D=DEB7J;HJ>7D7FFHEN?C7J;BO :7OI7<J;HJ>;"D?J?7B?IJH?8KJ?ED7J; 7D:J>;H;7<J;H J>;<?HIJKI?D;II
7OJ>7J?I7IIEED7IH;7IED78BOFH79J?978B;E99KHH?D=DEB7J;HJ>7D :7OI7<J;HJ>;?CC;:?7J;BOFH;9;:?D=);H?E:?9
?IJH?8KJ?ED7J; 

                  T".;<87UC;7DI7F;HIED7I:;<?D;:?DI;9J?ED E<J>;7DAHKFJ9OE:;

                  T"5*7UC;7DIJ>?I"5*78/#.8;0*72C*=2878/><,5."1*;68;98;*=287 &7-.;1*9=.; 8/=1.
*74;>9=,B8-. *=.-*B )        7I7C;D:;: IKFFB;C;DJ;: EHCE:?<?;:<HECJ?C;JEJ?C; ?D9BK:?D= M?J>EKJ
B?C?J7J?ED J>;)B7D,KFFB;C;DJ M>?9>?I?D9EHFEH7J;:>;H;?D8OH;<;H;D9;

               D"5*7-6272<=;*=8;E C;7DIJ>;%?J?=7J?ED -HKIJ;;EHIK9>EJ>;H);HIED7FFE?DJ;:FKHIK7DJJEJ>;
9ED<?HC;:)B7D7D:J>;7DAHKFJ9OEKHJWIEH:;H9ED<?HC?D=J>;)B7DJE7:C?D?IJ;H F7OC;DJIJE !EB:;HIE<BBEM;:
B7II ;D;H7B.DI;9KH;:B7?CI

                  T"5*7 ";8987.7=<UC;7DIJ>;;8JEH7D:J>;ECC?JJ;; 

                  T"5*7$>995.6.7=UC;7DI 9EBB;9J?L;BO J>;9ECF?B7J?EDE<:E9KC;DJI7D:<EHCIE<:E9KC;DJI 7D:
7BB;N>?8?JI 7JJ79>C;DJI I9>;:KB;I 7=H;;C;DJI :E9KC;DJI7D:?DIJHKC;DJI H;<;HH;:JEJ>;H;?D 7D9?BB7HOEH EJ>;HM?I; 
7BBE<M>?9>7H;?D9EHFEH7J;:8OH;<;H;D9;?DJE 7D:7H;7D?DJ;=H7BF7HJE< J>;)B7D 7I7BBE<J>;I7C;C7O8;7C;D:;: 
CE:?<?;: H;FB79;:7D: EHIKFFB;C;DJ;:<HECJ?C;JEJ?C;?D799EH:7D9;M?J>J>;J;HCI>;H;E<7D:J>;7DAHKFJ9O
E:;7D:J>;7DAHKFJ9O+KB;I ->;)B7D,KFFB;C;DJI>7BB8;<?B;:8OJ>;;8JEHED7:7J;J>7J?I<EKHJ;;D
97B;D:7H:7OIFH?EHJEJ>;ED<?HC7J?ED!;7H?D= 

                        99    0                                   FF     =
                T"5*7$>998;=0;..6.7=UC;7DIJ>7J9;HJ7?D)B7D,KFFEHJ=H;;C;DJ:7J;:&7O   8O7D:
8;JM;;D J>;;8JEH J>;ECC?JJ;; J>;CF;HO)7HJ?;I7D:J>;0>?J;0?DIJED)7HJ?;I 
8;JM;;DJ>;;8JEH

                  T";.<=20.UC;7DI)H;IJ?=;7F?J7B?D7D9; %% 

              T";.<=20.";.9.=2=287$.,>;.-5*26UC;7DIJ>;7CEKDJE<
                        0       9                                                               7D::;DEC?D7J;:EDJ>;
7DAHKFJ9OEKHJWIE<<?9?7B9B7?CH;=?IJ;H7I)HEE<E<B7?C'E  



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                 T";28;2=B 87%*A 5*26U C;7DI 7DO B7?C 799EH:;: FH?EH?JO ?D H?=>J E< F7OC;DJ FKHIK7DJ JE
I;9J?ED 7E<J>;7DAHKFJ9OE:; EJ>;HJ>7D7)H?EH?JO-7NB7?CEH7D:C?D?IJH7J?L;B7?C 

                T";28;2=B %*A 5*26U C;7DI 7DO B7?C E< 7 =EL;HDC;DJ7B KD?J E< J>; A?D: IF;9?<?;: ?D I;9J?ED
 7E<J>;7DAHKFJ9OE:;

                 D";88/8/5*26E C;7DI7FHEE<E<B7?C?B;:7=7?DIJJ>;;8JEH?DJ>;>7FJ;H7I;

                  T";88/8/7=.;.<=UC;7DIFHEE<E<GK?JO"DJ;H;IJ<?B;:7=7?DIJJ>;;8JEH?DJ>;>7FJ;H7I; 

                T";8#*=*UC;7DIJ>;FHEFEHJ?EDJ>7J7DBBEM;:B7?CEHGK?JO"DJ;H;IJ?D7F7HJ?9KB7HB7II
8;7HIJEJ>;7==H;=7J;7CEKDJE<BBEM;:B7?CIEHGK?JO"DJ;H;IJI?DJ>7JB7II EHJ>;FHEFEHJ?EDJ>7JBBEM;:
B7?CIEHGK?JO"DJ;H;IJI?D7F7HJ?9KB7HB7II8;7HJEJ>;7==H;=7J;7CEKDJE<BBEM;:B7?CI?D7F7HJ?9KB7HB7II
7D:EJ>;HB7II;I;DJ?JB;:JEI>7H;?DJ>;I7C;H;9EL;HO7IIK9>BBEM;:B7?CEHGK?JO"DJ;H;IJKD:;HJ>;)B7D 

                 T">;,1*<.;UC;7DIJ>;KBJ?C7J;FKH9>7I;HE<J>;;8JEHWIII;JIB;IIJ>;N9BK:;:II;JI7JJ>;
,7B; 

                 T#.,8;-*=.E C;7DIJ>;9BEI;E<8KI?D;IIED#KD;   

                 D#.5.*<.- "*;=2.<E C;7DI ;8JEH  J>; ECC?JJ;;  J>; CF;HO )7HJ?;I  7D: J>; 0>?J; 0?DIJED
)7HJ?;I

                 D#.5.*<270 "*;=2.<E C;7DI ;8JEH  J>; ECC?JJ;;  J>; CF;HO )7HJ?;I  7D: J>; 0>?J; 0?DIJED
)7HJ?;I

                T#.8;0*72C.- .+=8;U C;7DI J>; ;8JEH  EH 7DO IK99;IIEH J>;H;JE  8O C;H=;H  9EDIEB?:7J?ED EH
EJ>;HM?I; EDEH7<J;HJ>;<<;9J?L;7J;

                 T#.<=;>,=>;270%;*7<*,=287UC;7DI7DOE<J>EI;H;IJHK9JKH?D=JH7DI79J?EDI7D:7BJ;HD7J?L;II;J<EHJ>
?DHJ?9B;/

                 T#.=*27.-";8/.<<287*5UC;7DI7DODJ?JO7
                                   /                     O      O   ;CFBEO;:?DJ>;>7FJ;H7I;FKHIK7DJJE7?D7B
                                                                          F O               F              F
                                                                      ;CFBEO;:?DJ>;>7FJ;H7I;FKHIK7DJJE7?D7B
(H:;H?D799EH:7D9;M?J>I;9J?EDI7D: E<J>;7DAHKFJ9OE:;7D:JE8;9ECF;DI7J;:<EHI;HL?9;IH;D:;H;:
                                                                    F O                       F
FH?EHJEJ>;<<;9J?L;7J; FKHIK7DJJEI;9J?EDI
F                              F                             EHE<J>;7DAHKFJ9OE:;EH8
                                                                                                F O            <EHM>?9>
9ECF;DI7J?ED
    F           7D: H;?C8KHI;C;DJ >7I 8;;D 7BBEM;: 8O O J>; 7DAHKFJ9O
                                                                           F O EKHJ FFKHIK7DJ JE I;9J?ED  8
                                                                                                                   E< J>;
                                                                                                                           J>;
7DAHKFJ9O
        F O E:;  EH 9
                           H;J7?D;: FKHIK7DJ
                                       F         JE ,;9J?ED 8
                                                                   E< J>; 7DAHKFJ9O
                                                                                    F O E:; 7D: JE 8; 9ECF;DI7J;:
                                                                                                                F          <EH
I;HL?9;IH;D:;H;:?D799EH:7D9;M?J>9ECF;DI7J;:?D799EH:7D9;M?J>,;9J?EDI 7D:E<J>;7DAHKFJ9OE:; 

               T#855&9UC;7DIJ>7J9;HJ7?DHEBB KFE<J>;FH;F;J?J?EDCF;HO%E7DIED7:EBB7H<EH:EBB7H87I?IE<
J>;7CEKDJIBE7D;:JEJ>;;8JEHKD:;HJ>;")?D7D9?D=7D:J>;")'EJ;I)KH9>7I;=H;;C;DJ KFJE7JEJ7BHEBB
KFE<        

                 T$*5.UC;7DIJ>;I7B;E<9;HJ7?D E<J>;IJ7J;WIII;JI;N9;FJ<EH
                                                                              F
                  T$*5.UC;7DIJ>;I7B;E<9;HJ7?DE<J>;IJ7J;WIII;JI;N9;FJ<EH J>;N9BK:;:II;JI M>?9>I>7BB
                                                                                                          M>?9>I>7BB
DEJ8;IEB:FKHIK7DJJEI;9J?EDE<J>;7DAHKFJ9OE:;?D799EH:7D9;M?J>J>;J;HCIE<J>;)B7D7D:J>;?::?D=
           
DEJ8;IEB:FKHIK7DJJEI;9J?EDE<J>;7DAHKFJ9OE:;?D799EH:7D9;M?J>J>;J;HCIE<J>;)B7D7D:J>;?::?D=
)HE9;:KH;I 

              T$,1.->5.<U C;7D  9EBB;9J?L;BO  J>; I9>;:KB;I E< 7II;JI 7D: B?78?B?J?;I  I9>;:KB;I E< N;9KJEHO
EDJH79JI7D:.D;NF?H;:%;7I;I7D:IJ7J;C;DJIE<<?D7D9?7B7<<7?HI?B;:8OJ>;;8JEHFKHIK7DJJEI;9J?EDE<J>;
7DAHKFJ9O E:; 7D: ?D IK8IJ7DJ?7B 799EH:7D9; M?J> J>; (<<?9?7B 7DAHKFJ9O EHCI  7I J>; I7C; C7O >7L; 8;;D
7C;D:;: CE:?<?;:EHIKFFB;C;DJ;:<HECJ?C;JEJ?C;

                 D$.,>;2=2.<,=E C;7DIJ>;.D?J;:,J7J;I,;9KH?J?;I9JE< 7I7C;D:;: 

                 T$UC;7DI,9>M7HJP%7M )%% 



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                T&7.A92;.-.*<.UC;7DI7B;7I;JEM>?9>J>;;8JEH?I 7F7HJOJ>7J?IIK8@;9JJE7IIKCFJ?EDEH
H;@;9J?EDKD:;HI;9J?EDIEHE<J>;7DAHKFJ9OE:; B?IJE<J>;;8JEHWI.D;NF?H;:%;7I;I7FF;7HIED
,9>;:KB; E<J>;,9>;:KB;I$..'EI 7D: 

                  T&7269*2;.-UC;7DI M?J>H;IF;9JJE7B7IIE<B7?CIEHGK?JO"DJ;H;IJI 7B7?CEH7DGK?JO
"DJ;H;IJJ>7J?IKD?CF7?H;:M?J>?DJ>;C;7D?D=E<I;9J?EDE<J>;7DAHKFJ9OE:;

              T&7269*2;.- 5*<<U C;7DI 7D KD?CF7?H;: B7II M?J>?D J>; C;7D?D= E< I;9J?ED  E< J>;
7DAHKFJ9OE:;

                 T'8=2705*<<.<UC;7DI B7II;I  7D: 

                 D'8=270.*-527.E C;7DI4"',+--5 7J F C FH;L7?B?D=)79?<?9-?C;<EH7BB!EB:;HIE<
B7?CI  M>?9> ?I J>; :7J; 7D: J?C; 8O M>?9> 7BB 7BBEJI CKIJ 8; H;9;?L;: 8O J>; ;8JEH ?D 799EH:7D9; M?J> J>;
?I9BEIKH;,J7J;C;DJ(H:;H EHIK9>EJ>;H:7J;7D:J?C;7IC7O8;;IJ78B?I>;:8OJ>;7DAHKFJ9OEKHJM?J>H;IF;9J
JE7DO/EJ?D=B7II

               T(( -?.;<*;B
                               B ";8,..-270U
                                           0 C;7DI J>7J 9;HJ7?D :L;HI7HO 7I; 'E      ;DJ?JB;: (12=.
                                                                                                             (12=.
(27<=87$.5.,=<<.=>7-<?69.;B%*A//2,2.7=".=*5

               T(($.==5.6.7=0;..6.7=UC;7DIJ>7J9;HJ7?DI;JJB;C;DJ7=H;;C;DJ:7J;:;9;C8;H   8O
7D:8;JM;;DJ>;;8JEH7D:0>?J;0?DIJED 

                T(12=.(27<=87UC;7DI0>?J;0?DIJED,;B;9JII;JKD:I %% 

                T(12=.(27<=87!5*26<UC;7DIJ>;IJ7J;WI97KI;I E<79J?ED7D:7IIE9?7J;:H?=>JIJE
                                                                                                        =      :?H;9JEH
7D:E<<?9;H?DIKH7D9;7=7?DIJ:?H;9JEHI7D:E<<?9;HI<EH8H;79>;IE<J>;?H<?:K9?7HO:KJ?;IE<BEO7BJO
                        =                                                                              97H; 7D:=EE:
<7?J>J>7J7HEI;EDEH8;<EH;;9;C8;H   

              T(12=.(27<=87"*;=2.<UC;7DI0>?J;0?DIJED,;B;9JII;JKD:I %%7D:0>?J;0?DIJED,;B;9J
II;JKD:,;H?;IKD:&)  %% 

              T(27--8@7 >-0.=U C;7DI J>7J 9;HJ7?D 8K:=;J CKJK7BBO 7=H;;: JE 8;JM;;D J>; ;8JEH  J>;
ECC?JJ;;7D:CF;HOH;=7H:?D=J>;7CEKDJE<97I>H;GK?H;:JE<KD:J>;IJ7J;J>HEK=>J>;)B7D<<;9J?L;7J; 
?D9BKI?L;E<7CEKDJI D;9;II7HOJEF7OKD9B7II?<?;:9B7?CI7D:B7IIB7?CI 

                                                   
                                             "  %              $ 

       -6272<=;*=2?.5*26<

          79>!EB:;HE<7DBBEM;::C?D?IJH7J?L;B7?CI>7BB8;F7?:J>;<KBBKDF7?:7CEKDJE<IK9>B7?C?D7I>
7 EDEH7IIEED7IH;7IED78BOFH79J?978B;7<J;HJ>;<<;9J?L;7J; 8 ?<IK9>B7?C?IBBEM;:7<J;HJ>;<<;9J?L;
7J; EDEH7IIEED7IH;7IED78BOFH79J?978B;7<J;HJ>;:7J;IK9>B7?C?IBBEM;: EH9 KFEDIK9>EJ>;HJ;HCI7I
C7O8;7=H;;:KFED8OJ>;;8JEHEHJ>;+;EH=7D?P;:;8JEH J>;)B7D:C?D?IJH7JEH EHJ>;%?J?=7J?ED -HKIJ;; 7I
7FFB?978B; 7D:IK9>!EB:;HEHEJ>;HM?I;KFED7DEH:;HE<J>;7DAHKFJ9OEKHJ9;8?2-.- 18@.?.; J>7JBBEM;:
:C?D?IJH7J?L; NF;DI; B7?CI H;FH;I;DJ?D= B?78?B?J?;I ?D9KHH;: 8O J>; ;8JEH ?D J>; EH:?D7HO 9EKHI; E< 8KI?D;II
:KH?D=J>;>7FJ;H7I; EJ>;HJ>7DJ>EI;B?78?B?J?;I9EDIJ?JKJ?D=EHH;B7J?D=JE9ECC;H9?7BJEHJ9B7?CIEHF7J;DJ 
JH7:;C7HAEH9EFOH?=>J?D<H?D=;C;DJ9B7?CI I>7BB8;F7?:?DJ>;EH:?D7HO9EKHI;E<8KI?D;II?D799EH:7D9;M?J>J>;
J;HCI7D:IK8@;9JJEJ>;9ED:?J?EDIE<7DO7=H;;C;DJI=EL;HD?D= ?DIJHKC;DJI;L?:;D9?D= EHEJ>;H:E9KC;DJIH;B7J;:
JEIK9>JH7DI79J?EDI 7D:!EB:;HIE<B7?CIH;B7J;:JEIK9>EH:?D7HO9EKHI;B?78?B?J?;I7H;DEJH;GK?H;:JE?B;EHI;HL;
7DOH;GK;IJ<EHF7OC;DJE<IK9>:C?D?IJH7J?L;B7?CI




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                                                           &
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                                               
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          $>66*;B

                ->?I)B7D9EDIJ?JKJ;I;8JEHWI 9>7FJ;HFB7DE<H;EH=7D?P7J?ED N9;FJ<EHJ>;B7?CI7::H;II;:?D
     HJ?9B;""78EL;EH7IEJ>;HM?I;I;J<EHJ>>;H;?D 7BBB7?CI7=7?DIJJ>;;8JEH7H;FB79;:?DB7II;I B7II
     9EDI?IJI E<GK?JO"DJ;H;IJI "D799EH:7D9;M?J>I;9J?ED7E<J>;7DAHKFJ9OE:; J>;;8JEH>7IDEJ
     9B7II?<?;::C?D?IJH7J?L;B7?CI7D:)H?EH?JO-7NB7?CI 7I:;I9H?8;:?DHJ?9B;"" 78EL; 

                ->;97J;=EH?;IE<B7?CI7D:GK?JO"DJ;H;IJIB?IJ;:8;BEM9B7II?<OB7?CI7D:GK?JO"DJ;H;IJI<EH7BB
     FKHFEI;I  ?D9BK:?D=  M?J>EKJ B?C?J7J?ED  LEJ?D=  ED<?HC7J?ED 7D: :?IJH?8KJ?ED FKHIK7DJ >;H;JE 7D: FKHIK7DJ JE
     I;9J?EDI7D:7E<J>;7DAHKFJ9OE:; ->;)B7D:;;CI7B7?CEHGK?JO"DJ;H;IJJE8;9B7II?<?;:
     ?D7F7HJ?9KB7HB7IIEDBOJEJ>;;NJ;DJJ>7JJ>; B7?CEHGK?JO"DJ;H;IJGK7B?<?;IM?J>?DJ>;:;I9H?FJ?EDE<J>7JB7II
     7D:I>7BB8;:;;C;:9B7II?<?;:?D7:?<<;H;DJB7IIJEJ>;;NJ;DJJ>7J7DOH;C7?D:;HE<IK9>B7?CEHGK?JO"DJ;H;IJ
     GK7B?<?;IM?J>?DJ>;:;I9H?FJ?EDE<IK9>:?<<;H;DJB7II B7?CEHGK?JO"DJ;H;IJ?I?D7F7HJ?9KB7HB7IIEDBOJE
     J>;;NJ;DJJ>7J7DOIK9>B7?CEHGK?JO"DJ;H;IJ?IBBEM;:?DJ>7JB7II7D:>7IDEJ8;;DF7?:EHEJ>;HM?I;I;JJB;:
     FH?EHJEJ>;<<;9J?L;7J;

                     ->;BBEM;:B7?CI7D:"DJ;H;IJIM?BB8;F7?:EHI7J?I<?;:7II;J<EHJ>?DHJ?9B;/

                     ,KCC7HOE<B7II?<?97J?ED7D:-H;7JC;DJE<B7II?<?;:B7?CI7D:GK?JO"DJ;H;IJI

                    1'77                               1'/2                                  8'897           "48/3-/-.87

                              (J>;H,;9KH;:B7?CI                                        .D?CF7?H;:        'EJDJ?JB;:JE/EJ;
                              )H?EH?JO'ED -7NB7?CI                                     .D?CF7?H;:        'EJDJ?JB;:JE/EJ;
                              CF;HO)H;F;J?J?ED,;9KH;:B7?C                             "CF7?H;:           DJ?JB;:JE/EJ;
                              )H;IJ?=;)H;F;J?J?ED,;9KH;:B7?C                           "CF7?H;:           DJ?JB;:JE/EJ;
                                ;D;H7B.DI;9KH;:B7?CI                                    "CF7?H;:           DJ?JB;:JE/EJ;
                              0>?J;0?DIJEDB7?CI                                         "CF7?H;:           DJ?JB;:JE/EJ;
                              GK?JO"DJ;H;IJI                                             "CF7?H;:          ;;C;:JE+;@;9J



          5*<<2/2,*=287*7-%;.*=6.7=8/5*26<*7-:>2=B7=.;.<=<

                         B7IIS(J>;H,;9KH;:B7?CI

                          7       5*<<2/2,*=287 B7II9EDI?IJIE<J>;(J>;H,;9KH;:B7?CI7=7?DIJJ>;;8JEH EJ>;HJ>7D
                                    J>;CF;HO)H;F;J?J?ED,;9KH;:B7?C7D:J>;)H;IJ?=;)H;F;J?J?ED,;9KH;:B7?C 

                          8       %;.*=6.7= (DEH7IIEED7IFH79J?978B;<EBBEM?D=J>;)B7D<<;9J?L;7J;
                                                                    F                  =
                                    %;.*=6.7=(DEH7IIEED7IFH79J?978B;<EBBEM?D=J>;)B7D<<;9J?L;7J;   ;79>>EB:;HE<
                                    7D7BBEM;:(J>;H,;9KH;:B7?CM?BB8;F7?:?D<KBB?D97I>EHEJ>;HM?I;H;7B?P;J>;L7BK;
                                                                               F
                                    7D7BBEM;:(J>;H,;9KH;:B7?CM?BB8;F7?:?D<KBB?D97I>EHEJ>;HM?I;H;7B?P;J>;L7BK;
                                    E<?JI9EBB7J;H7B KDB;IIEJ>;HM?I;7=H;;:8OIK9>>EB:;H
                                                                         =       O            7D:IK8@;9JJE7DOIK8EH:?D7J?ED
                                                                                                      @         O
                                    7=H;;C;DJI;D<EH9;78B;FKHIK7DJJEI;9J?ED 7E<J>;7DAHKFJ9OE:; 

                          9             0 B7II?I7D.D?CF7?H;:
                                    '8=270  B7II?I7D .D?CF7?H;:
                                                              CF        B7II 7D:J>;!EB:;HE<J>;B7IIB7?C?I DEJ;DJ?JB;:
                                    JELEJ;JE799;FJEHH;@;9JJ>;)B7D

                         B7IIS)H?EH?JO'ED -7NB7?CI

                          7       5*<<2/2,*=287 B7II9EDI?IJIE<!EB:;HIE<)H?EH?JO'ED -7NB7?CI 



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         8      %;.*=6.7=(DEH7IIEED7IFH79J?978B;<EBBEM?D=J>;)B7D<<;9J?L;7J; ;79>>EB:;HE<
                  7D7BBEM;:)H?EH?JO'ED -7NB7?CM?BB8;F7?:?D<KBB?D97I>EHEJ>;HM?I;B;<JKD?CF7?H;: 
                  KDB;IIEJ>;HM?I;7=H;;:JE8OIK9>>EB:;H 

         9      '8=270 B7II?I7D.D?CF7?H;:B7II 7D:;79> !EB:;HE<7B7IIB7?C?IDEJ;DJ?JB;:
                  JELEJ;JE799;FJEHH;@;9JJ>;)B7D

    B7IISCF;HO)H;F;J?J?ED,;9KH;:B7?C

         7      5*<<2/2,*=287B7II9EDI?IJIE<J>;CF;HO)H;F;J?J?ED,;9KH;:B7?C 

         8      %;.*=6.7= CF;HO
                                   F O I>7BB 9ECFHEC?I;
                                                     F        7D: I;JJB; M?J> J>; IJ7J; 7D: >7L; 7D 7BBEM;:
                  I;9KH;: 9B7?C ?D J>; 7CEKDJ E<  C?BB?ED J>; T 114:+* 25+6<
                                                                                           5 < +)96+* 1'/2U 
                           F
                  M>?9> H;FH;I;DJI  FFH?D9?F7B 7D: 799HK;: ?DJ;H;IJ 7D: <;;I J>HEK=> J>; );J?J?ED 7J; 7D:
                  ;N9BK:;IJ>;+EBB .F 

                                    F                    =
                  (DEH7IIEED7IFH79J?978B;<EBBEM?D=J>;)B7D<<;9J?L;7J;       >EB:;HIE<J>;BBEM;:
                     F O                                      9
                  CF;HO,;9KH;:B7?CI>7BBH;9;?L;J>;?H9;8;*=*<1*;.                                 DEJJE
                                                                              E<J>;';J,7B;)HE9;;:I DEJJE
                                C?BB?ED 5.<<
                  ;N9;;:   C?BB?ED 5.<< J>; +EBB .F 7D: 5.<< J>; 7CEKDJ E< CF;HOWI 9H;:?J 8?: J>;
                  T25+6<'<4,, 24938U 

                      F O           =             =
                  CF;HOI>7BB7II?=DJEJ>;%?J?=7J?ED    -HKIJ <EHJ>;8;D;<?JE<>EB:;HIE<BBEM;:B7II
                                                                                                    F O ,;9KH;:
                  B7?CI  J>; ;9EDEC?9 ?DJ;H;IJ ?D J>; :?<<;H;D9; 8;JM;;D J>; BBEM;: CF;HO
                                     F O O                     
                  B7?C7D:J>;CF;HO)7OE<<CEKDJJ>;T25+6<       5 < 77/-3+*1'/2U
                                                                                   -              ?D9BK:?D= <EH
                  J>;7LE?:7D9;E<:EK8J 7DOCED;J7HOH;9EL;HOEDIK9>CF;HOII?=D;:B7?C

                                                               =
                  -EJ>;;NJ;DJJ>;';J,7B;)HE9;;:I?D9BK:?D=J>;7CEKDJ ?<7DO
                                                                                  O E<CF;HOWI9H;:?J8?:
                                                                                    E<CF;HOWI9H;:?J8?:
                                                                                           F O             
                                            O       F O O
                  7H;?DIK<<?9?;DJJEI7J?I<OJ>;CF;HO)7OE<<CEKDJ?D<KBB >EB:;HIE<BBEM;:CF;HO
                                                                               >EB:;HIE<BBEM;:CF;HO
                  ,;9KH;:B7?CII>7BB<EH;=E7DO<KHJ>;HH;9EL;HO

                  -EJ>;;NJ;DJJ>;)B7D:E;IDEJ=E;<<;9J?L;8O<<;9J?L;7J;;7:B?D; J>;;8JEH7D:J>;
                  ECC?JJ;; C7O ;NJ;D: J>; <<;9J?L; 7J; ;7:B?D; 8O KF JE J>?HJO   97B;D:7H :7OI 
                  M?J>EKJJ>;9EDI;DJE<CF;HOEDJ>;9ED:?J?EDFH;9;:;DJJ>7JJ>;CF;HO)7OE<< CEKDJ
                  ?IF7?:?D<KBB<HECJ>;';J,7B;)HE9;;:IEDEH8;<EH;K=KIJ  9;8?2-.- 18@.?.; 
                  JEJ>;;NJ;DJCF;HO?IJ>;IK99;II<KB)KH9>7I;HFKHIK7DJJE79H;:?J8?:7D:J>;BEI?D=
                  7J;>7IE99KHH;: J>;<<;9J?L;7J;;7:B?D;C7O8;;NJ;D:;: ?< D;9;II7HO JE7:7J;
                  CKJK7BBO7=H;;:JE8OJ>;;8JEH J>;ECC?JJ;; 7D:CF;HO 

         9     '8=270 B7II ?I7D"CF7?H;:B7II 7D:;79>!EB:;HE<7B7II B7?C?I;DJ?JB;:JE
                  LEJ;JE799;FJEHH;@;9JJ>;)B7D

    B7II S)H;IJ?=;)H;F;J?J?ED,;9KH;:B7?C
     B7IIS)H;IJ?=;)H;F;J?J?ED,;9KH;:B7?C

         7      5*<<2/2,*=287B7II9EDI?IJIE<J>;)H;IJ?=;)H;F;J?J?ED,;9KH;:B7?C 

         8      %;.*=6.7=  &) EBB7J;H7B  7I IK99;IIEH ?D ?DJ;H;IJ JE )H;IJ?=;
                                                                                        =  I>7BB >7L; 7D 7BBEM;:
                  I;9KH;: 9B7?C ?D J>; 7CEKDJ E<             J>; T 114:+* 6+78/-+ +)96+* 1'/2U 
                  M>?9>H;FH;I;DJIFH?D9?F7B7D:799HK;:?DJ;H;IJ7D:<;;IJ>HEK=>J>;);J?J?ED7J; ->;
                  BBEM;: )H;IJ?=; ,;9KH;: B7?C I>7BB 8; IK8@;9J JE H;:K9J?ED <HEC J>; FHE9;;:I E<
                  9EBB;9J?EDI ED ?JI FH;F;J?J?ED 9EBB7J;H7B   I E< &7O      J>; D;J H;:K9J?EDI 7H;
                    

                  (DEH7IIEED7IFH79J?978B;<EBBEM?D=J>;)B7D<<;9J?L;7J; >EB:;HIE<J>;BBEM;:
                  )H;IJ?=;,;9KH;:B7?CI>7BBH;9;?L;7J>;H;JKHDE<J>;FH; F;J?J?ED799EKDJIH;9;?L78B;
                  9EBB7J;H7B I;9KH?D= IK9> BBEM;: )H;IJ?=; ,;9KH;: B7?C  8 97I> FHE9;;:I E< J>;
                  FH;F;J?J?ED799EKDJIH;9;?L78B;9EBB7J;H7BI;9KH?D=IK9>BBEM;:)H;IJ?=;,;9KH;:B7?C 



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                 7D:997I><HECJ>;';J,7B;)HE9;;:I?<7DOIK9>97I>FHE9;;:IH;C7?D7<J;HF7O?D=J>;
                 BBEM;:CF;HO,;9KH;:B7?C?D<KBB EHJ>;7LE?:7D9;E<:EK8J J>;BBEM;:)H;IJ?=;
                 ,;9KH;:B7?CI>7BB8;IK8EH:?D7J;?DH?=>JJEF7OC;DJE<J>;CF;HOII?=D;:B7?C 
                 ;N9;FJM?J>H;IF;9JJEFH;F;J?J?ED799EKDJIH;9;?L78B;7D:97I>FHE9;;:IJ>;H;<HEC

                 !EB:;HIE<J>;BBEM;:)H;IJ?=;,;9KH;:B7?CI>7BBH;J7?D7BBH?=>JI7D:97KI;IE<79J?ED
                 7=7?DIJJ>?H:F7HJ?;I ?D9BK:?D=8KJDEJB?C?J;:JEJ>;=K7H7DJ;;IFHEL?:;:8OH;NB;H

         9     '8=270B7II?I7D"CF7?H;:B7II 7D:;79>!EB:;HE<7B7IIB7?C?I;DJ?JB;:JELEJ;
                 JE799;FJEHH;@;9JJ>;)B7D 

    B7IIS ;D;H7B.DI;9KH;:B7?CI

         7     5*<<2/2,*=287B7II9EDI?IJIE<7BB ;D;H7B.DI;9KH;:B7?CI7=7?DIJJ>;;8JEH 

         8     %;.*=6.7=  B7II  I>7BB 9EDI?IJ E< 7BB 7BBEM;: DED FH?EH?JO =;D;H7B KDI;9KH;: 9B7?CI 
                 'ED;E<J>;CF;HO)7HJ?;I 7DO:;<;D:7DJI?DJ>;00:L;HI7HO)HE9;;:?D=EH0>?J;
                 0?DIJED)7HJ?;IDEH7DOE<J>;?H7<<?B?7J;IEH7DOE<J>;?D:?L?:K7BDEJ;>EB:;HII>7BB>7L;
                 7B7IIB7?C 

                         =
                 ->;%?J?=7J?ED  -HKIJH;I;HL;I7BBH?=>JI
                                                       = 9B7?CI 7D::;<;DI;IM?J>H;IF;9JJEB7IIB7?CI
                                                                                            F                           
                         = 7BB H?=>JI
                 ?D9BK:?D=       =     JE I;;A IK8EH:?D7J?ED E< IK9> 9B7?CI FFKHIK7DJ JE I;9J?ED   E< J>;
                                                                                                                    J>;
                        F O E:; 7D: JE ;D<EH9; 7DO
                 7DAHKFJ9O                              O 7FFB?978B; IK8EH:?D7J?ED 7=H;;C;DJI FKHIK7DJ JE      JE
                 I;9J?ED 7E<J>;7DAHKFJ9OE:;

                 79>>EB:;HE<7DBBEM;: ;D;H7B.DI;9KH;:B7?CI>7BBH;9;?L;?JI9;8;*=*I>7H;E<7
                 8;D;<?9?7B?DJ;H;IJ?DJ>;%?J?=7J?ED -HKIJ

         9     '8=270B7II?I7D"CF7?H;:B7II 7D:;79>!EB:;HE< 7B7IIB7?C?I;DJ?JB;:JELEJ;
                 JE799;FJEHH;@;9JJ>;)B7D 

    B7II S0>?J;0?DIJEDB7?CI
     B7IIS0>?J;0?DIJEDB7?CI

         7     5*<<2/2,*=287B7II9EDI?IJIE<7BB9B7?CIE<0>?J;0?DIJED?<7DO7=7?DIJJ>;;8JEH 
                 ?D9BK:?D= 7BB 9B7?CI 7H?I?D= <HEC J>7J 9;HJ7?D $.==5.6.7= 0;..6.7= *7- #.5.*<. :7J;:
                 ;9;C8;H  J>;T##+881+2+38 -6++2+38U 8O7D:8;JM;;D0>?J;0?DIJED 
                 J>;;8JEH7D:H;NB;H9EBB;9J?L;BO J>;T#./8+#/378431'/27U BB0>?J;0?DIJED
                 9B7?CI7=7?DIJJ>;;8JEHI>7BB8;JH;7J;:7II;J<EHJ>?DJ>?IB7II 

         8     %;.*=6.7=,K8@;9JJEJ>;E99KHH;D9;E<J>;)B7D<<;9J?L;7J;EH ?<8EJ>J>;<<;9J?L;
                 7J;>7IDEJE99KHH;:7D:J>;CF;HO)7OE<<CEKDJ?IF7?:?D<KBB<HECJ>;';J,7B;
                 )HE9;;:IEDEH8;<EH;K=KIJ   KFED;DJHOE<J>;ED<?HC7J?ED(H:;HJ>;00
                 ,;JJB;C;DJ=H;;C;DJI>7BB8;:;;C;:7D;N;9KJEHO9EDJH79JJ>7JJ>;;8JEHI>7BBH;@;9J
                 KD:;HJ>;)B7DFKHIK7DJJEI;9J?EDE<J>;7DAHKFJ9OE:; 

                 0>?J; 0?DIJED I>7BB >7L; 7D 7BBEM;: KDI;9KH;: 9B7?C E<                  ->; 7BBEM;:
                 KDI;9KH;:9B7?CI>7BB8;JH;7J;:7I<EBBEMI

                           7          EH IK9> EJ>;H 7CEKDJ 7I 0>?J; 0?DIJED ?D ?JI IEB; :?I9H;J?ED
                                                                                                       :?I9H;J?ED
                 :;J;HC?D;IE<J>;';MGK?JO
                                             G O "DJ;H;IJIEH 7J0>?J;0?DIJEDWI;B;9J?ED J>;FH;F;J?J?ED
                 :;J;HC?D;IE<J>;';MGK?JO"DJ;H;IJIEH                                     J>;FH;F;J?J?ED
                                                                                                     F F
                  G O                          =
                 ;GK?JO?DJ;H;IJI?DJ>;+;EH=7D?P;:;8JEHI>7BB8;?IIK;:JE0>?J;0?DIJED?D<KBB7D:
                                                                                           =
                 <?D7BI7J?I<79J?EDE<J>;9B7?C?DJ>;7CEKDJE<   ->;H?=>JI7D:FEM;HIE<F
                                    G O
                 >EB:;HIE<';MGK?JO"DJ;H;IJII>7BB8;7II;J<EHJ>?DJ>;)B7DEH?DH;B7J;::E9KC;DJI8O  O
                                                             F                 =         F
                 0>?J;0?DIJED "J?IJ>;?DJ;DJ?EDE<J>;F7HJ?;IJ>7JJ>;H?=>JI7D:FEM;HIE<>EB:;HIE<
                 ';MGK?JO"DJ;H;IJI8;:;J;HC?D;:8O0>?J;0?DIJED?D9EDD;9J?EDM?J>J>;T9>7D=; E<



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                                      F HKB;I E< I;9J?ED  E< J>; "+, -7N E:;  ?D9BK:?D=
                             EMD;HI>?FU                                                           = J>; ;N9;FJ?EDI
                                                                                                              F       JE J>;
                             EH:?D7HOT9>7D=;E<EMD;HI>?FUHKB;I<EKD:?DI;9J?EDIBL7D:L?E<J>;"+,-7N
                                    O       =              F                                        
                             EH:?D7HOT9>7D=;E<EMD;HI>?FUHKB;I<EKD:?DI;9J?EDIBL7D:L?E<J>;"+,-7N
                                        F
                             E:; BBFHEL?I?EDIE<J>;)B7DI>7BBEF;H7J;JE;<<;9JK7J;J>?I?DJ;DJ?EDKDB;IIEJ>;HM?I;
                             7=H;;:JE8O0>?J;0?DIJED

                                      8         ->;H;C7?D?D=        E<J>;9B7?CJ>;T#./8+#/37843+8'/3+*
                             1'/2UI>7BBDEJ8;:?I9>7H=;:7D:I>7BBH;C7?D7I7B?78?B?JOE<J>;FEIJ 9ED<?HC7J?ED
                             +;EH=7D?P;:;8JEH EHJ>;7LE?:7D9;E<:EK8J 0>?J;0?DIJEDI>7BBDEJ>7L;79B7?C
                             7=7?DIJJ>;%?J?=7J?ED -HKIJ 

                   9       '8=270B7II?I7D"CF7?H;:B7II 7D:;79>!EB:;HE<7B7IIB7?C?I;DJ?JB;:JELEJ;
                             JE799;FJEHH;@;9JJ>;)B7D 

             B7IISGK?JO"DJ;H;IJI

                   7       5*<<2/2,*=287B7II9EDI?IJIE<J>;GK?JO"DJ;H;IJIE<J>;;8JEH 

                   8       %;.*=6.7=,K8@;9JJEJ>;JH;7JC;DJE<J>;B7IIB7?CI 7BB;N?IJ?D=GK?JO"DJ;H;IJI?D
                             J>;;8JEHI>7BB8;97D9;BB;: 7D:>EB:;HIE<IK9>GK?JO"DJ;H;IJII>7BBD;?J>;HH;9;?L;DEH
                             H;J7?D7DOJ>?D=ED799EKDJE<J>;?H;N?IJ?D=GK?JO"DJ;H;IJI 

                   9       '8=270B7II?I"CF7?H;:KD:;HJ>?I)B7D ->;!EB:;HIE<B7IIGK?JO"DJ;H;IJI7H;
                             DEJ ;DJ?JB;: JE LEJ; ED J>?I )B7D 7D: 7H; :;;C;: JE >7L; H;@;9J;: J>?I )B7D FKHIK7DJ JE
                             ,;9J?ED=E<J>;7DAHKFJ9OE:;

       2<,1*;0.8/5*26<

         )KHIK7DJJEI;9J?ED9E<J>;7DAHKFJ9OE:; 7BBB7?CI7D:GK?JO"DJ;H;IJIJ>7J7H;DEJ;NFH;IIBO
FHEL?:;:<EH7D:FH;I;HL;:>;H;?DI>7BB8;;NJ?D=K?I>;:KFEDED<?HC7J?ED .FEDED<?HC7J?ED J>;;8JEH7D:7BB
FHEF;HJO:;7BJM?J>>;H;?D ?D9BK:?D=J>;II;JI I>7BB8;<H;;7D:9B;7HE<7BBIK9>9B7?CI7D:?DJ;H;IJI ?D9BK:?D= 
M?J>EKJB?C?J7J?ED B?;DI I;9KH?JO?DJ;H;IJI7D:7DO7D:7BB EJ>;H;D9KC8H7D9;I ;N9;FJ7IFHEL?:;:?DJ>;)B7D 

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       ";.<>6.-,,.9=*7,.8/"5*7

         B7II;I7D:7H; KD?CF7?H;:9B7II;IE<9B7?CI
                                  F                       J>;H;<EH; B7II;I7D:
                                                                      B7II;I7D: 7H;FH;IKC;:JE>7L;799;FJ;:
J>;)B7DFKHIK7DJJEI;9J?ED <E<J>;7DAHKFJ9OE:; 

       ";.<>6.- 87,,.9=*7,.8/"5*7

        B7II  ?I "CF7?H;: KD:;H J>; )B7D 7D: ?I :;;C;: JE H;@;9J J>; )B7D FKHIK7DJ JE I;9J?ED = E< J>;
7DAHKFJ9OE:;

       '8=2705*<<.<

          79>!EB:;HE<7DBBEM;:B7?C7IE<J>;+;9EH:7J; ?D;79>E<J>;/EJ?D=B7II;IB7II;I   7D:
I>7BB8;;DJ?JB;:JELEJ;JE799;FJEHH;@;9JJ>;)B7D

       ,,.9=*7,.+B69*2;.-5*<<.<8/5*26<

        )KHIK7DJJEI;9J?ED9 E<J>;7DAHKFJ9OE:;7D:;N9;FJ7IEJ>;HM?I;FHEL?:;:?DI;9J?ED; E<
J>;7DAHKFJ9OE:; 7D"CF7?H;:B7IIE<B7?CI>7I799;FJ;:J>;)B7D?<J>;!EB:;HIE<7JB;7IJJME J>?H:I?D:EBB7H



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         ->;ED<?HC7J?ED(H:;HI>7BB7D:I>7BB8;:;;C;:JE FKHIK7DJJEI;9J?EDI7D:E<J>; 7DAHKFJ9O
E:; 7KJ>EH?P; 7CED=EJ>;HJ>?D=I 7BB79J?EDI7IC7O8;D;9;II7HOEH7FFHEFH?7J;JE7<<;9J7DOJH7DI79J?ED:;I9H?8;:
?D 7FFHEL;:8O 9EDJ;CFB7J;:8O EHD;9;II7HOJE;<<;9JK7J;J>;)B7D ?D9BK:?D=J>;+;IJHK9JKH?D=-H7DI79J?EDI 

         .@8;98;*=.A2<=.7,.

          ->;;8JEHI>7BB9EDJ?DK;JE;N?IJ7<J;HJ>;<<;9J?L;7J;7I7I;F7H7J;9EHFEH7J;;DJ?JO B?C?J;:B?78?B?JO
9ECF7DOEHB?C?J;:F7HJD;HI>?F M?J>7BBJ>;FEM;HIE<79EHFEH7J?ED B?C?J;:B?78?B?JO9ECF7DOEHB?C?J;:F7HJD;HI>?F
FKHIK7DJJEB7MIE<J>;,J7J;E<';L7:77D:FKHIK7DJJEJ>;9;HJ?<?97J;E<?D9EHFEH7J?ED7D:8OB7MIEHEJ>;H<EHC7J?ED
:E9KC;DJI?D;<<;9JFH?EHJEJ>;<<;9J?L;7J; ;N9;FJJEJ>;;NJ;DJIK9>9;HJ?<?97J;E<?D9EHFEH7J?EDEH8OB7MIEH
EJ>;H <EHC7J?ED :E9KC;DJI 7H; 7C;D:;: 8O EH ?D 9EDD;9J?ED M?J> J>; )B7D EH EJ>;HM?I; 7D:  JE J>; ;NJ;DJ IK9>
:E9KC;DJI7H;7C;D:;: IK9>:E9KC;DJI7H;:;;C;:JE8;7KJ>EH?P;:FKHIK7DJ>;H;JE7D:M?J>EKJJ>;D;;:<EH7DO
EJ>;H7FFHEL7BI 7KJ>EH?P7J?EDI 79J?EDIEH9EDI;DJI 

        '.<=2708/<<.=<27=1.2=20*=287 %;><=

                                                                                                              =
          N9;FJ7IEJ>;HM?I;FHEL?:;:>;H;?DEH?D7DO7=H;;C;DJ ?DIJHKC;DJEHEJ>;H:E9KC;DJH;B7J?D=J>;H;JE       ED
                                     =
EH7<J;HJ>;<<;9J?L;7J; J>;%?J?=7J?ED                         B?J?=7J?ED
                                                                           =
                                            -HKIJI>7BB8;9H;7J;: B?J?=7J?ED                  -
                                                                                  JHKIJ;;J>;T/8/-'8/43   6978++UI>7BB
                                                                                                                    
                                                                                                             6978++UI>7BB
8;7FFE?DJ;:?DJ>;IEB;:?I9H;J?EDE<J>;ECC?JJ;;
    FF                                                 7D:J>; %?J?=7J?ED
                                                                    =
                                                       7D:J>;%?J?=7J?ED                 =          O
                                                                            -HKIJI>7BB8;=EL;HD;:8O7J>H;;C;C8;H
EL;HI?=>J9ECC?JJ;; M>?9>C;C8;HII>7BB8;7FFE?DJ;:?DJ>;IEB;:?I9H;J?EDE<J>;ECC?JJ;; 

          (DJ>;)B7D<<;9J?L;7J; J>;%?J?=7J?ED -HKIJI>7BB8;L;IJ;:M?J>7BB7II;JIE<J>;;8JEHDEJIEB:JEJ>;
)KH9>7I;H  DEH F7?: JE &) EBB7J;H7B  7D: DEJ JH7DI<;HH;: JE  EH L;IJ;: ?D  J>; +;EH=7D?P;: ;8JEH  ->; 7II;JI
JH7DI<;HH;: JE J>; %?J?=7J?ED -HKIJ I>7BB ?D9BK:; 7BB KDIEB: 9B7?CI  97KI;I E< 79J?ED  7D: ?DJ;H;IJI E< J>; ;8JEH 
?D9BK:?D=7BBH?=>JI 9B7?CI 7D:97KI;IE<79J?EDH;B7J?D=JE?DIKH7D9;FEB?9?;I EJ>;HJ>7DJ>;0>?J;0?DIJED(
B7?CI 

         <J;HJ>;)B7D<<;9J?L;7J; J>;+;EH=7D?P;:;8JEHI>7BBF7OJ>;%?J?=7J?ED -HKIJ7D7CEKDJ;GK7BJEJ>?HJO
F;H9;DJ E<J>;';JEBB;9J;:)HE9;;:I:;<?D;:8;BEME<J>;0>?J;0?DIJED(B7?CI T+8411+)8+*
64)++*7UC;7DIJ>;=HEII9EBB;9J;:FHE9;;:I79JK7BBO9EBB;9J;:8OJ>;+;EH=7D?P;:;8JEHED799EKDJE<J>;0>?J;
0?DIJED(B7?CIB;II7DO<;;I7D:;NF;DI;I?D9KHH;:8OJ>;+;EH=7D?P;:;8JEH JEH;9EL;HIK9>FHE9;;:I 

          (DJ>;)B7D <<;9J?L;7J; J>;%?J?=7J?ED
                                                 =      -HKIJI>7BBH;9;?L;7BB97I>>;B:8OJ>;;IJ7J;
                                                                                           O                      =
                                                                                                        ?D9BK:?D=J>;';J
,7B; )HE9;;:I 5.<<   J>;CF;HO)7OE<<CEKDJ5.<<
                             F O O
                5.<<J>;CF;HO)7OE<<CEKDJ5.<<       7CEKDJI:K;JE!EB:;HIE<B7IIB7?CI     FKHIK7DJJEJ>;)B7D
                                                         7CEKDJI:K;JE!EB:;HIE<B7IIB7?CIFKHIK7DJJEJ>;)B7D
J>;T/8/-'8/43 6978'7.'1'3)+U EHJ>;7LE?:7D9;E<:EK8J
                                                                       7DOH;C7?D?D=<KD:I?DJ>;0?D: EMDK:=;J
I>7BBL;IJ?DJ>;%?J?=7J?ED -HKIJ -EJ>;;NJ;DJJ>;%?J?=7J?ED -HKIJ7I>7B7D9;?I5.<<=1*7          ED7D;J87I?I
7<J;H :;:K9J?D= 7DJ?9?F7J;: 799HK;: 7D: KDF7?: 7:C?D?IJH7J?L; 7D: FH?EH?JO 9B7?CI ?D9BK:?D= FHE<;II?ED7B <;;I 
CF;HO I>7BB <KD: J>; :?<<;H;D9; JE J>; %?J?=7J?ED -HKIJ J>; T25+6< /8/-'8/43 6978 4'3U  ->; CF;HO
%?J?=7J?ED -HKIJ%E7DI>7BB8;H;F7?:<HECJ>;FHE9;;:IE<J>;%?J?=7J?ED -HKIJII;JI7>;7:E<7DO:?IJH?8KJ?EDIJE
>EB:;HIE<BBEM;:B7IIB7?CI EHJ>;7LE?:7D9;E<:EK8J CF;HOWIE8B?=7J?EDJE<KD:J>;CF;HO%?J?=7J?ED
-HKIJ%E7DI>7BB8;78?D:?D=E8B?=7J?EDKFEDJ>;BEI?D=7J;2. J>;9BEI?D=E<J>;,7B;7D:IK9>7CEKDJII>7BB
8;F7?:JEJ>;%?J?=7J?ED -HKIJEDJ>;)B7D<<;9J?L;7J; ;L;D?<IK9><<;9J?L;7J;;7:B?D;?I;NJ;D:;:8;OED:
K=KIJ  7IFHEL?:;:?DJ>;)B7D

        '.<=2708/<<.=<27=1.#.8;0*72C.-.+=8;

         N9;FJ7IEJ>;HM?I;7=H;;:JE8O0>?J;0?DIJEDEH7IFHEL?:;:>;H;?D EH?D7DO7=H;;C;DJ ?DIJHKC;DJEH
EJ>;H:E9KC;DJH;B7J?D=J>;H;JE EDEH7<J;HJ>;<<;9J?L;7J; J>;N9BK:;:")7D:J>;0>?J;0?DIJED(B7?CI
I>7BBL;IJ?DJ>;+;EH=7D?P;:;8JEH 

        $.,>;2=2.<#.02<=;*=287A.69=287

          ->;';MGK?JO"DJ;H;IJIJE8;?IIK;:>;H;KD:;H7D:FKHIK7DJJEJ>;)B7D,KFFEHJ=H;;C;DJ M?BB8;?IIK;:
M?J>EKJH;=?IJH7J?EDKD:;HJ>;,;9KH?J?;I9JEH7DOI?C?B7H<;:;H7B IJ7J;EHBE97BB7M?DH;B?7D9;KFEDJ>;;N;CFJ?EDI
I;J<EHJ>?DI;9J?EDE<J>;7DAHKFJ9OE:;




                                                                
                                                            &
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        <<>*7,.*7-2<=;2+>=2878/ .@:>2=B7=.;.<=<

         -EJ>;;NJ;DJ7FFB?978B;7<J;HJ>;,7B;
                        FF                       EDEH?CC;:?7J;BO7<J;HJ>;<<;9J?L;7J;
                                                                   O                         7BB';MGK?JO"DJ;H;IJI
?DJ>;+;EH=7D?P;: ;8JEHI>7BB8;?IIK;:7II;J<EHJ>>;H;?D7D:?DJ>;)B7D,KFFEHJ=H;;C;DJ 

         BBE<J>;';MGK?JO"DJ;H;IJI?IIK;:FKHIK7DJJEJ>;)B7DI>7BB8;:KBO7KJ>EH?P;: L7B?:BO?IIK;:7D: ?<
7FFB?978B; <KBBOF7?:7D:DED 7II;II78B; 79>:?IJH?8KJ?ED7D: ?IIK7D9;H;<;HH;:JE?DHJ?9B;/"">;H;E<I>7BB8;
=EL;HD;:8OJ>;J;HCI7D:9ED:?J?EDII;J<EHJ>>;H;?D7FFB?978B;JEIK9>:?IJH?8KJ?EDEH?IIK7D9;7D:8OJ>;J;HCI7D:
9ED:?J?EDIE<J>;?DIJHKC;DJI;L?:;D9?D=EHH;B7J?D=JEIK9>:?IJH?8KJ?EDEH?IIK7D9; M>?9>J;HCI7D:9ED:?J?EDII>7BB
8?D:;79>DJ?JOH;9;?L?D=IK9>:?IJH?8KJ?EDEH?IIK7D9; 


        .;=2/2,*=.8/7,8;98;*=287*7-B5*@<

          ->; 9;HJ?<?97J;I E< ?D9EHFEH7J?ED 7D: 8OB7MI EH EJ>;H <EHC7J?ED :E9KC;DJI H;B7J?D= JE B?C?J;: B?78?B?JO
9ECF7D?;I7D:B?C?J;:F7HJD;HI>?FIE<J>;;8JEHI>7BB8;7C;D:;:7IC7O8;H;GK?H;:JE8;9EDI?IJ;DJM?J>J>;
FHEL?I?EDIE<J>;)B7D7D:J>;7DAHKFJ9OE:;EH7IEJ>;HM?I;H;GK?H;:8O 7D:?D7<EHCH;7IED78BO799;FJ78B;JE
J>;+;EH=7D?P;:;8JEH (DEH7IIEED7IH;7IED78BOFH79J?978B;7<J;HJ>;<<;9J?L;7J; J>;+;EH=7D?P;:;8JEH
I>7BB<?B;7D;M9;HJ?<?97J;E<?D9EHFEH7J?EDEHEH=7D?P7J?EDM?J>J>;I;9H;J7HOE<IJ7J;EH;GK?L7B;DJIJ7J;E<<?9;HEH
;DJ?JO M>?9> 7IH;GK?H;:8OI;9J?ED7E<J>;7DAHKFJ9OE:; I>7BBFHE>?8?JJ>;?IIK7D9;E<DED LEJ?D=
I;9KH?J?;I   <J;H J>; <<;9J?L; 7J;  J>; +;EH=7D?P;: ;8JEH C7O <?B; 7 D;M  EH 7C;D: 7D: H;IJ7J; ?JI ;N?IJ?D= 
9;HJ?<?97J;E<?D9EHFEH7J?ED 9>7HJ;H7D:EJ>;H9EDIJ?JK;DJ:E9KC;DJI7IF;HC?JJ;:8OJ>;H;B;L7DJIJ7J;9EHFEH7J;B7M

        //.,=>*=2708,>6.7=<>;=1.;%;*7<*,=287<A.69=287/;86.;=*27%;*7</.;%*A.<

           ->;;8JEH7D:J>;+;EH=7D?P;:;8JEH 7I7FFB?978B; C7OJ7A;7BB79J?EDIJE;N;9KJ; :;B?L;H ?B;EHH;9EH:
IK9>9EDJH79JI ?DIJHKC;DJI H;B;7I;I7D:EJ>;H7=H;;C;DJIEH:E9KC;DJI7D:J7A;IK9>79J?EDI7IC7O8;D;9;II7HO
EH7FFHEFH?7J;JE;<<;9JK7J;7D:?CFB;C;DJJ>;FHEL?I?EDIE<J>;)B7D ?D9BK:?D= M?J>EKJB?C?J7J?ED J>;:?IJH?8KJ?ED
E<J>;I;9KH?J?;IJE8;?IIK;:FKHIK7DJ>;H;JE?DJ>;D7C;E<7D:ED8;>7B<E<J>;+;EH=7D?P;:;8JEH M?J>EKJJ>;D;;:
<EH 7DO 7FFHEL7BI  7KJ>EH?P7J?EDI  79J?EDI EH 9EDI;DJI ;N9;FJ <EH J>EI; ;NFH;IIBO H;GK?H;: FKHIK7DJ >;H;JE   ->;
I;9H;J7HO7D:7DO7II?IJ7DJI;9H;J7HOE<J>;;8JEHEH+;EH=7D?P;:;8JEH 7I 7FFB?978B; I>7BB8;7KJ>EH?P;:JE9;HJ?<O
EH7JJ;IJJE7DOE<J>;<EH;=E?D=79J?EDI 

         )H?EHJE EDEH7<J;HJ>;<<;9J?L;7J;7I7FFHEFH?7J; 7BBC7JJ;HIFHEL?:;:<EHFKHIK7DJJEJ>;)B7DJ>7J
MEKB:EJ>;HM?I;H;GK?H;7FFHEL7BE<J>;I>7H;>EB:;HI :?H;9JEHIEHC;C8;HIE<J>;;8JEHI>7BB8;:;;C;:JE>7L;
8;;DIE7FFHEL;:7D:I>7BB8;?D;<<;9JFH?EHJE EDEH7<J;HJ>;<<;9J?L;7J;7I7FFHEFH?7J;FKHIK7DJJE7FFB?978B;
B7M7D:M?J>EKJ7DOH;GK?H;C;DJE<<KHJ>;H79J?ED8OJ>;I>7H;>EB:;HI :?H;9JEHI C7D7=;HIEHF7HJD;HIE<J>;;8JEH 
EHJ>;D;;:<EH7DO7FFHEL7BI 7KJ>EH?P7J?EDI 79J?EDIEH9EDI;DJI 

         )KHIK7DJJEI;9J?ED7E<J>;7DAHKFJ9OE:; 7DOJH7DI<;HIE<FHEF;HJOFKHIK7DJ>;H;JEI>7BBDEJ8;
IK8@;9JJE7DO7:L7BEH;C IJ7CFJ7NEHEJ>;HI?C?B7HJ7NEH=EL;HDC;DJ7B7II;IIC;DJ?DJ>;.D?J;:,J7J;I 7D:J>;
ED<?HC7J?ED(H:;HI>7BB:?H;9JJ>;7FFHEFH?7J;IJ7J;EHBE97B=EL;HDC;DJ7BE<<?9?7BIEH7=;DJIJE<EH=EJ>;9EBB;9J?ED
E<7DOIK9>J7NEH=EL;HDC;DJ7B7II;IIC;DJ7D:JE799;FJ<EH<?B?D=7D:H;9EH:7J?ED?DIJHKC;DJIEHEJ>;H:E9KC;DJI
FKHIK7DJ JE IK9> JH7DI<;HI E< FHEF;HJO M?J>EKJ J>; F7OC;DJ E< 7DO IK9> J7N EH =EL;HDC;DJ7B 7II;IIC;DJ   ,K9>
;N;CFJ?ED IF;9?<?97BBO 7FFB?;I  M?J>EKJ B?C?J7J?ED  JE 7BB :E9KC;DJI D;9;II7HO JE ;L?:;D9; 7D: ?CFB;C;DJ J>;
FHEL?I?EDIE<7D:J>;:?IJH?8KJ?EDIJE8;C7:;KD:;HJ>;)B7D ?D9BK:?D=J>; I7B;E<J>;II;JIEHJ>; ?IIK7D9;E<';M
GK?JO"DJ;H;IJI ?D9BK:?D=7DO?IJH?8KJ?EDIC7:; EH79J?EDIKD:;HJ7A;D8O J>;;8JEH J>;+;EH=7D?P;:;8JEH 
7D: EHJ>;%?J?=7J?ED -HKIJ;;

        ";.<.;?*=2878/">+52,7=2=B$=*=><

          (D 7D: 7<J;H J>; <<;9J?L; 7J;  J>; +;EH=7D?P;: ;8JEH ?DJ;D:I ?J M?BB 9EDJ?DK; JE ;N?IJ 7I 7 FK8B?9
9EHFEH7J?ED7D:?DIK9>;L;DJI>7BBH;J7?D7BBE<J>;FEM;HIE<FK8B?99EHFEH7J?EDIKD:;H7FFB?978B;DED 87DAHKFJ9O
B7M 7D:M?J>EKJFH;@K:?9;JE7DOH?=>JJE7C;D:?JI9>7HJ;H :?IIEBL; C;H=;EH9EDL;HJ?DJE7DEJ>;H<EHCE<8KI?D;II
;DJ?JO EHJE7BJ;HEHJ;HC?D7J;?JI;N?IJ;D9; IE<J>;<<;9J?L;7J; J>;;8JEHWIHJ?9B;IE<"D9EHFEH7J?EDI>7BB8;




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I>7BB8;:;;C;:H;@;9J;:7IE<J>;<<;9J?L;7J; ->;ED<?HC7J?ED(H:;HI>7BB9EDIJ?JKJ;7DEH:;HE<J>;7DAHKFJ9O
EKHJ7FFHEL?D=J>;H;@;9J?EDI:;I9H?8;:?DJ>?IHJ?9B;/"FKHIK7DJJEI;9J?EDI7D:E<J>;7DAHKFJ9OE:;
7I E<J>;<<;9J?L;7J; 

       5*26<87,,8>7=8/=1.#.3.,=2878/A.,>=8;B87=;*,=<8;&7.A92;.-.*<.<

          BBFHEE<IE<B7?CM?J>H;IF;9JJEB7?CI7H?I?D=<HECJ>;H;@;9J?EDE<N;9KJEHOEDJH79JIEH.D;NF?H;:
%;7I;I  FKHIK7DJ JE J>; )B7D EH J>; ED<?HC7J?ED (H:;H  ?< 7DO  CKIJ 8; <?B;: M?J> J>; 7DAHKFJ9O EKHJ M?J>?D
J>?HJO   :7OI 7<J;H J>; :7J; E< ;DJHO E< 7D EH:;H E< J>; 7DAHKFJ9O EKHJ ?D9BK:?D= J>; ED<?HC7J?ED (H:;H
7FFHEL?D=IK9>H;@;9J?ED 

          DODJ?JOJ>7J?IH;GK?H;:JE<?B;7)HEE<E<B7?C7H?I?D=<HECJ>;H;@;9J?EDE<7DN;9KJEHOEDJH79JEH7D
.D;NF?H;:%;7I;J>7J<7?BIJEJ?C;BO:EIEI>7BB8;<EH;L;H87HH;: ;IJEFF;:7D:;D@E?D;:<HEC7II;HJ?D=IK9>B7?C 
7D:IK9>B7?CI>7BBDEJ8;;D<EH9;78B; 7=7?DIJ7DO;8JEH 7DO+;EH=7D?P;:;8JEHEH;8JEHWIIJ7J;7D:FHEF;HJO 
?D9BK:?D=J>;II;JI 7D:J>;%?J?=7J?ED -HKIJ;; 7D:J>;;8JEHEHJ>;+;EH=7D?P;:;8JEH7D:;8JEHWIIJ7J;7D:
FHEF;HJO ?D9BK:?D=J>;II;JI 7D:J>;%?J?=7J?ED -HKIJ;;I>7BB8;<EH;L;H:?I9>7H=;:<HEC7DO7D:7BB?D:;8J;:D;II
7D:B?78?B?JOM?J>H;IF;9JJEIK9>B7?CKDB;IIEJ>;HM?I;EH:;H;:8OJ>;7DAHKFJ9OEKHJEH7IEJ>;HM?I;FHEL?:;:
>;H;?D 

       >;.8/./*>5=</8;<<>6.-A.,>=8;B87=;*,=<*7-&7.A92;.-.*<.<

           DOCED;J7HO:;<7KBJIKD:;H;79>N;9KJEHOEDJH79J7D:.D;NF?H;:%;7I;JE8;7IIKC;:FKHIK7DJJEJ>;
)B7DI>7BB8;I7J?I<?;: FKHIK7DJJEI;9J?ED 8E<J>;7DAHKFJ9OE:; 8OF7OC;DJE<J>;:;<7KBJ7CEKDJ?D
7I>EDJ>;<<;9J?L;7J;EHEDIK9>EJ>;HJ;HCI7IJ>;F7HJ?;IJEIK9>N;9KJEHOEDJH79JIEH.D;NF?H;:%;7I;I
C7O EJ>;HM?I; 7=H;;   J B;7IJ J;D   :7OI FH?EH JE J>; ED<?HC7J?ED !;7H?D=  J>; ;8JEH I>7BB I;HL; KFED
9EKDJ;HF7HJ?;IJEIK9>N;9KJEHOEDJH79JI7D:.D;NF?H;:%;7I;I 7DEJ?9;E<J>;FHEFEI;:7IIKCFJ?ED M>?9>M?BB
 B?IJJ>;7FFB?978B;9KH;7CEKDJ ?<7DO :;I9H?8;J>;FHE9;:KH;I<EH<?B?D=E8@;9J?EDIJ>;H;JE7D:;NFB7?DJ>;
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       2<=;2+>=287</8;5*26<558@.-*<8/=1.//.,=2?.*=.

          N9;FJ7IEJ>;HM?I;FHEL?:;:?DJ>;)B7D 7?D7B(H:;H J>;%?J?=7J?ED -HKIJ EH7I7=H;;:JE8OJ>;H;B;L7DJ
F7HJ?;I J>;+;EH=7D?P;:;8JEHEHJ>;%?J?=7J?ED -HKIJ;; 7IEJ>;HM?I;7FFHEFH?7J;7D:9EDI?IJ;DJM?J>J>;J;HCIE<
J>?I)B7D I>7BBC7A;?D?J?7B:?IJH?8KJ?EDIKD:;HJ>;)B7DED799EKDJE<B7?CIBBEM;:EDEH7IIEED7IFH79J?978B;



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7<J;HJ>;"D?J?7B?IJH?8KJ?ED7J;9;8?2-.- 18@.?.; J>7JF7OC;DJIED799EKDJE< ;D;H7B.DI;9KH;:B7?CIJ>7J
8;9EC;BBEM;:B7?CIEDEH8;<EH;J>;<<;9J?L;7J;C7O9ECC;D9;EDJ>;<<;9J?L;7J; 

        2<=;2+>=287<87,,8>7=8/5*26<558@.-/=.;=1.//.,=2?.*=.

              )7OC;DJI7D:?IJH?8KJ?EDIED?IFKJ;:B7?CI

          N9;FJ7IEJ>;HM?I;FHEL?:;:?DJ>;)B7D 7?D7B(H:;H J>;%?J?=7J?ED -HKIJEH7I7=H;;:JE8OJ>;H;B;L7DJ
F7HJ?;I :?IJH?8KJ?EDIKD:;HJ>;)B7DED799EKDJE<7?IFKJ;:B7?CJ>7J8;9EC;I7DBBEM;:B7?C7<J;HJ>;<<;9J?L;
7J;I>7BB8;C7:;EDJ>;<?HIJ);H?E:?9?IJH?8KJ?ED7J;7<J;HJ>;?IFKJ;:B7?C8;9EC;I7DBBEM;:B7?C

              ,F;9?7B+KB;I<EH?IJH?8KJ?EDIJE!EB:;HIE<?IFKJ;:B7?CI

         'EJM?J>IJ7D:?D=7DOFHEL?I?EDEJ>;HM?I;?DJ>;)B7D7D:;N9;FJ7IEJ>;HM?I;7=H;;:JE8OJ>;H;B;L7DJF7HJ?;I
         'EJM?J>IJ7D:?D=7DOFHEL?I?EDEJ>;HM?I;?DJ>;)B7D7D:;N9;FJ7IEJ>;HM?I;7=H;;:JE8OJ>;H;B;L7DJF7HJ?;I
                        = OF                                              F               =          O              F
   F       F O              F                                            F            F                               F
DEF7HJ?7BF7OC;DJI7D:DEF7HJ?7B:?IJH?8KJ?EDII>7BB8;C7:;M?J>H;IF;9JJE7?IFKJ;:B7?CKDJ?B7BBIK9>:?IFKJ;I
                            F                                    O
?D9EDD;9J?EDM?J>IK9>?IFKJ;:B7?C>7L;8;;DH;IEBL;:8OI;JJB;C;DJEH?D7B(H:;H        "DJ>;;L;DJJ>7JJ>;H;7H;
                                                                                              "DJ>;;L;DJJ>7JJ>;H;7H;
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                                                                   =                     %?J?=7J?ED
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                                                         J>;+;EH=7D?P;:;8JEHEHJ>;%?J?=7J?ED   -HKIJ;; 7IEJ>;HM?I;
 FF F
7FFHEFH?7J;7D:9EDI?IJ;DJM?J>J>;J;HCIE<J>?I)B7D  I>7BB;IJ78B?I>7FFHEFH?7J;H;I;HL;I<EHFEJ;DJ?7BF7OC;DJE<7DO
                                                        I>7BB;IJ78B?I>7FFHEFH?7J;H;I;HL;I<EHFEJ;DJ?7BF7OC;DJE<7DO
IK9> ?IFKJ;:B7?CI
IK9>?IFKJ;:B7?CI

        .52?.;B*7-2<=;2+>=287<*7-&7-.52?.;*+5.8;&7,5*26.-2<=;2+>=287<

              +;9EH:7J;<EH?IJH?8KJ?EDI

          (DJ>;?IJH?8KJ?ED+;9EH:7J; J>;B7?CI+;=?IJ;HI>7BB8;9BEI;:7D:7DOF7HJOH;IFEDI?8B;<EHC7A?D=
:?IJH?8KJ?EDII>7BB?DIJ;7:8;7KJ>EH?P;:7D:;DJ?JB;:JEH;9E=D?P;EDBOJ>EI;!EB:;HIE<B7?CIB?IJ;:EDJ>;B7?CI
+;=?IJ;H7IE<J>;9BEI;E<8KI?D;IIEDJ>;?IJH?8KJ?ED+;9EH:7J; "<7B7?C?IJH7DI<;HH;:JM;DJO  EH<;M;H
:7OI8;<EH;J>;?IJH?8KJ?ED+;9EH:7J; J>;?IJH?8KJ?ED=;DJI>7BBC7A;:?IJH?8KJ?EDIJEJ>;JH7DI<;H;;EDBOJEJ>;
;NJ;DJFH79J?97B7D: ?D7DO;L;DJ EDBO?<J>;H;B;L7DJJH7DI<;H<EHC9EDJ7?DI7DKD9ED:?J?ED7B7D:;NFB?9?J9;HJ?<?97J?ED
7D:M7?L;HE<7DOE8@;9J?EDJEJ>;JH7DI<;H8OJ>;JH7DI<;HEH

              ;B?L;HOE<?IJH?8KJ?EDI?D ;D;H7B

           N9;FJ7IEJ>;HM?I;FHEL?:;:>;H;?D J>;%?J?=7J?ED -HKIJ;; I>7BBC7A;:?IJH?8KJ?EDIJE!EB:;HIE<BBEM;:
B7?CI7JJ>;7::H;II<EH;79>IK9>!EB:;H7I?D:?97J;:EDJ>;;8JEHWIEHJ>;%?J?=7J?ED -HKIJ;;WI H;9EH:I7IE<J>;
:7J; E< 7DO IK9> :?IJH?8KJ?ED 9;8?2-.-  18@.?.;  J>7J J>; C7DD;H E< IK9> :?IJH?8KJ?EDI I>7BB 8; :;J;HC?D;: 7JJ>;
:?I9H;J?EDE<J>;;8JEH J>;+;EH=7D?P;:;8JEH EHJ>;%?J?=7J?ED -HKIJ;; 7I7FFB?978B;7D:9;8?2-.- />;=1.; J>7J
J>;7::H;II<EH;79>!EB:;HE<7DBBEM;:B7?CI>7BB8;:;;C;:JE8;J>;7::H;III;J<EHJ>?D7DO)HEE<E<B7?C
?B;:8OJ>7J!EB:;H 

         ->; %?J?=7J?ED -HKIJ;; I>7BB C7A; 7BB :?IJH?8KJ?EDI ?D 799EH:7D9; M?J> J>; J;HCI E< J>; %?J?=7J?ED -HKIJ
=H;;C;DJ ->;)B7DFHEL?:;IJ>7JJ>;+;EH=7D?P;:;8JEH>7IDEE8B?=7J?EDIE<7DOA?D:KD:;HJ>;)B7DJEJ>;
%?GK?:7J?D=-HKIJ;; J>;?IJH?8KJ?ED=;DJEH=;DJI 7DO9H;:?JEHEJ>;HJ>7D0>?J;0?DIJEDEH;GK?JOI;9KH?JO>EB:;H
?D9BK:?D= M?J>EKJB?C?J7J?ED ED799EKDJE<9B7?CIEH;GK?JO?DJ;H;IJI<HEC7D:7<J;HJ>;<<;9J?L;7J; 

        86952*7,.@2=1%*A#.:>2;.6.7=< 558,*=287<

         "D 9EDD;9J?ED M?J> J>; )B7D  JE J>; ;NJ;DJ 7FFB?978B;  J>; %?J?=7J?ED -HKIJ;; I>7BB 9ECFBO M?J> 7BB J7N
M?J>>EB:?D=7D:H;FEHJ?D=H;GK?H;C;DJI?CFEI;:EDJ>;C8O7DO=EL;HDC;DJ7BKD?J 7D:7BB:?IJH?8KJ?EDIFKHIK7DJ
>;H;JEI>7BB8;IK8@;9JJEIK9>M?J>>EB:?D=7D:H;FEHJ?D=H;GK?H;C;DJI 'EJM?J>IJ7D:?D=7DOFHEL?I?ED?DJ>;)B7DJE
J>;9EDJH7HO J>;%?J?=7J?ED -HKIJ;; I>7BB8;7KJ>EH?P;:JEJ7A;7BB79J?EDID;9;II7HOEH7FFHEFH?7J;JE9ECFBOM?J>IK9>
M?J>>EB:?D=7D:H;FEHJ?D=H;GK?H;C;DJI ?D9BK:?D=B?GK?:7J?D=7FEHJ?EDE<J>;:?IJH?8KJ?EDJE8;C7:;KD:;HJ>;)B7D
JE =;D;H7J; IK<<?9?;DJ <KD:I JE F7O 7FFB?978B; M?J>>EB:?D= J7N;I  M?J>>EB:?D= :?IJH?8KJ?EDI F;D:?D= H;9;?FJ E<
?D<EHC7J?EDD;9;II7HOJE<79?B?J7J;IK9>:?IJH?8KJ?EDIEH;IJ78B?I>?D=7DOEJ>;HC;9>7D?ICIJ>;O8;B?;L;7H;H;7IED78B;




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7D: 7FFHEFH?7J;   ->; %?J?=7J?ED -HKIJ;; H;I;HL; J>; H?=>J JE 7BBE97J; 7BB :?IJH?8KJ?EDI C7:; KD:;H J>; )B7D ?D
9ECFB?7D9;M?J>7BB7FFB?978B;B?;DI7D:;D9KC8H7D9;I

         EHJ7NFKHFEI;I :?IJH?8KJ?EDI?D<KBBEHF7HJ?7BI7J?I<79J?EDE<BBEM;:B7?CII>7BB8;7BBE97J;:<?HIJJEJ>;
FH?D9?F7B7CEKDJE<BBEM;:B7?CI M?J>7DO;N9;II7BBE97J;:JEKDF7?:?DJ;H;IJJ>7J799HK;:EDIK9>B7?CI

        %26270*7-*5,>5*=2878/68>7=<=8.2<=;2+>=.-

           (DJ>;"D?J?7B?IJH?8KJ?ED7J;EH?<7B7?C?IDEJ7DBBEM;:B7?CEDJ>;<<;9J?L;7J; EDJ>;:7J;J>7J
IK9>7B7?C8;9EC;I7DBBEM;:B7?C EH7IIEED7IH;7IED78BOFH79J?978B;J>;H;7<J;H ;79>!EB:;HE<7DBBEM;:
B7?C7=7?DIJJ>;;8JEHI>7BBH;9;?L;J>;<KBB7CEKDJE<J>;:?IJH?8KJ?EDIJ>7JJ>;)B7DFHEL?:;I<EHBBEM;:B7?CI
?D J>; 7FFB?978B; B7II   N9;FJ 7I EJ>;HM?I; FHEL?:;: >;H;?D  !EB:;HI E< B7?CI I>7BB DEJ 8; ;DJ?JB;: JE ?DJ;H;IJ 
:?L?:;D:IEH799HK7BIEDJ>;:?IJH?8KJ?EDIFHEL?:;:<EH>;H;?D H;=7H:B;IIE<M>;J>;HIK9>:?IJH?8KJ?EDI7H;:;B?L;H;:
EDEH7J7DOJ?C;7<J;HJ>;<<;9J?L;7J;

        $.=8//<

         ->;%?J?=7J?ED -HKIJ;; C7OM?J>>EB:8KJDEJI;JE<<;N9;FJ7II;J<EHJ>8;BEM<HECJ>;:?IJH?8KJ?EDI97BB;:
<EH>;H;KD:;HED799EKDJE<7DOBBEM;:B7?C7D7CEKDJ;GK7BJE7DO9B7?CI ;GK?JO?DJ;H;IJI H?=>JI 7D:7KI;IE<
9J?EDE<7DOD7JKH;J>7JJ>;;8JEHEHJ>;+;EH=7D?P;:;8JEHC7O>EB:7=7?DIJJ>;!EB:;HE<7DOIK9>BBEM;:
B7?C "DJ>;;L;DJJ>7J7DOIK9>9B7?CI ;GK?JO?DJ;H;IJI H?=>JI7D:7KI;IE<9J?EDE<7DOD7JKH;J>7JJ>;;8JEH
EHJ>;+;EH=7D?P;:;8JEHC7O>EB:7=7?DIJJ>;!EB:;HE<7DOIK9>BBEM;:B7?C7H;7:@K:?97J;:8O?D7B(H:;HEH
EJ>;HM?I;H;IEBL;: J>;%?J?=7J?ED -HKIJ;; C7O FKHIK7DJJEI;9J?EDE<J>;7DAHKFJ9OE:;EH7FFB?978B;DED
87DAHKFJ9OB7M I;JE<<7=7?DIJ7DOBBEM;:B7?C7D:J>;:?IJH?8KJ?EDIJE8;C7:;FKHIK7DJ>;H;JEED799EKDJE<
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J>7JH;IKBJI<HEC7D79JEHEC?II?EDJEJ>;;NJ;DJIK9>79JEHEC?II?ED?I:;J;HC?D;:8O?D7B(H:;HJE>7L;9EDIJ?JKJ;:
                                                                                                        O
==HEIID;=B?=;D9;EHM?BB<KBC?I9ED:K9J
           = =                                   "D7::?J?ED DEJM?J>IJ7D:?D=7DOEJ>;HFHEL?I?EDE<J>;)B7D
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 B7?C EH "DJ;H;IJ  DE EJ>;H FF7HJO
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                                                                             F           =
                                                                                       7=;DJI    ;CFBEO;;I
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                                                                                                                                          J>;
 ED<?HC7J?ED 7J; ?D 9EDD;9J?ED M?J>  H;B7J?D=       = JE EH 7H?I?D=
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                                                      F               ED<?HC7J?EDEH9EDIKCC7J?EDE<J>;)B7D J>;?I9BEIKH;
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  ,J7J;C;DJ EH7DOJH7DI79J?EDEH:E9KC;DJ9H;7J;:EH;DJ;H;:?DJE
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  E99KHH?D=8;<EH;J>;);J?J?ED7J;
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7DAHKFJ9OEKHJI>7BB 7<J;HJ>;<<;9J?L;7J; H;J7?DIK9>@KH?I:?9J?EDEL;HJ>;>7FJ;H7I;7D:7BBDJ?J?;IM?J>
H;IF;9JJE7BBC7JJ;HIH;B7J;:JEJ>;>7FJ;H7I; J>;;8JEH 7D:J>;)B7D7IB;=7BBOF;HC?II?8B; ?D9BK:?D= M?J>EKJ
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  KDI;9KH;: IJ7JKI E< 7DO B7?C  ?D9BK:?D=  M?J>EKJ B?C?J7J?ED  J>; H;IEBKJ?ED E< 7DO H;GK;IJ <EH F7OC;DJ E< 7DO
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          =H7DJEH:;DO7DO7FFB?97J?EDI<EH7BBEM7D9;E<9ECF;DI7J?EDEHH;?C8KHI;C;DJE<;NF;DI;I7KJ>EH?P;:
FKHIK7DJJEJ>;7DAHKFJ9OE:;EHJ>;)B7D <EHF;H?E:I;D:?D=EDEH8;<EH;J>;ED<?HC7J?ED7J;

          H;IEBL; 7DO C7JJ;HI H;B7J;: JE J>; 7IIKCFJ?ED  7II?=DC;DJ EH H;@;9J?ED E< 7DO N;9KJEHO EDJH79J EH
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B?78B;7D:JE7:@K:?97J;7D: ?<D;9;II7HO B?GK?:7J; 7DOB7?CI7H?I?D=J>;H;<HEC ?D9BK:?D= M?J>EKJB?C?J7J?ED J>EI;




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